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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: FACEBOOK, INC., CONSUMER                    MDL No. 2843
  PRIVACY USER PROFILE LITIGATION                    Case No. 18-md-02843-VC


                                                     PRETRIAL ORDER NO. 20:
  This document relates to:                          GRANTING IN PART AND DENYING
                                                     IN PART MOTION TO DISMISS
  ALL ACTIONS
                                                     FIRST AMENDED COMPLAINT


       This lawsuit, which stems from the Cambridge Analytica scandal, is about Facebook’s

practice of sharing its users’ personal information with third parties. The plaintiffs are current

and former Facebook users who believe that their information was compromised by the

company. Their principal allegations are that Facebook: (i) made sensitive user information

available to countless companies and individuals without the consent of the users; and (ii) failed

to prevent those same companies and individuals from selling or otherwise misusing the

information. The plaintiffs do not merely allege that Facebook shared what we often describe as

“data” – basic facts such as gender, age, address, and the like. They allege that Facebook shared

far more substantive and revealing content that users intended only for a limited audience, such

as their photographs, videos they made, videos they watched, their religious and political views,

their relationship information, and the actual words contained in their messages.

       Facebook has filed a motion to dismiss the lawsuit. Although the company makes many

different arguments, there are three main ones. First, Facebook argues that people have no

legitimate privacy interest in any information they make available to their friends on social
media. This means, according to Facebook, that if people use social media to communicate
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sensitive information with a limited number of friends, they have no right to complain of a

privacy violation if the social media company turns around and shares that information with a

virtually unlimited audience. As explained in Section II of this ruling, Facebook’s argument

could not be more wrong. When you share sensitive information with a limited audience

(especially when you’ve made clear that you intend your audience to be limited), you retain

privacy rights and can sue someone for violating them.

       Second, Facebook argues that even if its users had a privacy interest in the information

they made available only to friends, there is no standing to sue in federal court because there

were no tangible negative consequences from the dissemination of this information. That too is

wrong. As explained in Section III, the law has long recognized that a privacy invasion is itself

the kind of injury that can be redressed in federal court, even if the invasion does not lead to

some secondary economic injury like identity theft.

       Facebook’s third main argument is that even if users retained a privacy interest in the

information that was disclosed, and even if a “bare” privacy invasion confers standing to sue in

federal court, this lawsuit must be dismissed because Facebook users consented, in fine print, to

the wide dissemination of their sensitive information. As discussed in Section IV, this question is

more difficult than the first two. California law requires the Court to assume as a legal matter

(even if it’s not true as a factual matter) that users reviewed, understood, and agreed to all of
Facebook’s contractual terms when they signed up for their accounts. These terms included a

description of at least some of Facebook’s information-sharing practices, for at least a portion of

the time period covered by this lawsuit. In particular, from roughly 2009 to 2015, Facebook

disclosed its practice of allowing app developers to obtain, through a user’s Facebook friends,

any information about the user that the friends had access to.

       That single disclosure, however, is relatively inconsequential for this motion to dismiss.

The complaint adequately alleges that users who established their Facebook accounts prior to

roughly 2009 never consented to this practice. Plaintiffs in this category may pursue claims
based on information-sharing with app developers. Moreover, the complaint adequately alleges


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that no users ever consented to Facebook’s other information-sharing practices – specifically,

sharing with certain “whitelisted apps” starting in 2015, and sharing with certain “business

partners” during much of the relevant time period. Finally, the complaint adequately alleges that

users never consented to Facebook’s widespread practice of allowing companies to sell and

otherwise misuse sensitive user information, as opposed to restricting the use of this information

as Facebook promised it would. Therefore, even though Facebook’s arguments regarding user

consent have some legal force and will somewhat limit the scope of the lawsuit, they cannot

defeat the lawsuit entirely, at least at the pleading stage.

        Accordingly, as set forth in Section V (which discusses the specific legal claims asserted

by the plaintiffs), although Facebook’s motion to dismiss will be granted for a few of the claims,

most claims survive.

                                         I. BACKGROUND

        Cambridge Analytica, a British political consulting firm, used personal information from

millions of Facebook accounts to send targeted political messages during the 2016 presidential

campaign. The firm obtained this information from Aleksandr Kogan, a researcher who had

acquired it through his app, which Facebook had allowed him to deploy on its platform. The

Cambridge Analytica incident began receiving significant press coverage in 2018, which in turn

generated increased scrutiny of Facebook’s information-sharing practices. In the months that
followed, reports emerged suggesting that the ability of people like Kogan and entities like

Cambridge Analytica to obtain sensitive Facebook user information was the norm rather than the

exception. Broadly speaking, this case is about whether Facebook acted unlawfully in making

user information widely available to third parties. It’s also about whether Facebook acted

unlawfully in failing to do anything meaningful to prevent third parties from misusing the

information they obtained.

        Following the Cambridge Analytica outcry, dozens of lawsuits were filed against

Facebook in various courts around the country. The lawsuits were mostly in federal court, and
they were mostly proposed class actions by individual Facebook users who contended that


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Facebook disseminated their sensitive personal information to Kogan without their consent and

failed to prevent him from transferring it to Cambridge Analytica. One of the first of these

lawsuits was filed in the Northern District of California and randomly assigned to this Court.

       When multiple, similar federal lawsuits are filed around the country, there is a process

within the federal judiciary for handling them. Congress has created the Judicial Panel on

Multidistrict Litigation, which considers whether to transfer similar cases to a single federal

judge for pretrial proceedings. The purpose is to promote the orderly adjudication of multiple

similar cases, avoiding conflicting rulings from different judges and alleviating the strain on the

system that would result from many judges adjudicating the same complicated pretrial issues.

The multidistrict litigation process contemplates that once the assigned judge adjudicates those

issues, the individual cases are sent back for trial to the courts where they originated. In these

cases against Facebook, the panel concluded that assignment to a single judge was warranted,

and assigned the lawsuits to this Court.

       This Court subsequently appointed two attorneys to serve as lead plaintiffs’ counsel.

Thereafter, lead counsel, representing roughly three dozen individual Facebook users, filed a

consolidated class action complaint. The plaintiffs propose to represent a class consisting of all

Facebook users in the United States and the United Kingdom whose personal information was

improperly disseminated and/or inadequately protected by Facebook from 2007 to the present.
The practical effect of the proposed class action is that this one consolidated complaint could

potentially resolve all claims by private parties against Facebook arising from the company’s

practices of disseminating user information during this period. In other words, this proceeding

has effectively become one large proposed class action, as opposed to a group of several dozen

separate lawsuits.1

        Facebook filed a motion to dismiss, and a lengthy hearing took place during which the

1
  Other lawsuits which are not part of this multidistrict litigation have been filed against
Facebook by law enforcement entities from states or localities. Although Facebook attempted to
fold one such lawsuit into this proceeding, the Court rejected that attempt. See Illinois, ex rel.
Kimberly M. Foxx v. Facebook, 354 F. Supp. 3d 1122 (N.D. Cal. 2019).


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parties and the Court discussed many potential deficiencies in the complaint. The hearing ended

with the Court giving the plaintiffs permission to file an amended complaint to address any such

deficiencies.

        The amended complaint, which is the subject of the current motion to dismiss, runs 414

pages and includes 1,442 paragraphs. It appears to include all the claims that were asserted in the

cases that were transferred here by the multidistrict litigation panel, and more. But for

manageability purposes, the complaint is divided into “prioritized claims” and “nonprioritized

claims.” The idea is that the prioritized claims (which presumably reflect lead counsel’s

judgment about their relative strength or importance) will be adjudicated first, and the

nonprioritized claims should be stayed and addressed later if necessary. The complaint names

multiple defendants (for example, CEO Mark Zuckerberg, in addition to Facebook itself), but

again divides those defendants into the “prioritized” and “non-prioritized” categories. Facebook

is the only prioritized defendant.

        It’s worth noting that the case has expanded in scope. While the initial lawsuits focused

largely on Facebook’s conduct that was the subject of the Cambridge Analytica scandal, the case

now includes allegations stemming from the subsequent revelations about Facebook’s wider

information-sharing practices. Moreover, although the complaint purports to assert 12 prioritized

“claims,” most of those purported claims actually consist of multiple distinct legal claims, based

on distinct factual allegations. For example, the section entitled “Breach of Contract” appears to

contain roughly half a dozen distinct claims for breach of contract, based on distinct acts of

alleged wrongdoing. Indeed, at times it seems the plaintiffs sought to identify anything Facebook

has ever been reported to have done wrong and then made sure to sprinkle in at least a few

allegations about it.

        This strategy interferes significantly with the clarity and effectiveness of the plaintiffs’
presentation. Some of the allegations are quite vague. For example, the plaintiffs make an
allegation, the significance of which the Court has not been able to understand, about Facebook
stripping metadata from users’ photos before allowing third parties to access them. Also


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scattered throughout the complaint are allegations about something the plaintiffs call

“psychographic marketing,” without any meaningful explanation of the legal or factual

difference between psychographic marketing and targeted advertising (the latter of which the

plaintiffs appear to concede is perfectly legitimate).

       Overall, the presence of so many disparate and vague allegations makes it nearly

impossible for Facebook to meaningfully respond to all of them, much less for the Court to

effectively address them. The conventional approach in a situation like this might be to sift

through the complaint to try to identify each distinct claim, then dismiss with leave to amend all

claims that are not adequately articulated. But that approach would likely result in many more

rounds of motions to dismiss, bogging the case down at the pleading stage for years. In the

interest of preventing that from happening to this multidistrict litigation, this ruling focuses on

what the Court understands to be the plaintiffs’ core allegations about Facebook’s handling of

sensitive user information. Claims based on these core factual allegations will largely survive the

motion to dismiss. All other prioritized claims not addressed by this ruling will be stayed

(effectively, relegated to non-prioritized status) and adjudicated, if necessary, at a later stage in

the proceedings with the other non-prioritized claims.

       The core allegations in the complaint describe four categories of wrongdoing by

Facebook. In adjudicating Facebook’s motion to dismiss, the Court is required to assume the
truth of these allegations, so long as they are adequately articulated and not contradicted by any

documents that the complaint explicitly relies on.

       1. Giving app developers access to sensitive user information. Since roughly 2007,

Facebook users have been able to access applications, or apps, directly from the Facebook

platform to do things like play video games, read news content, or stream videos. According to

the plaintiffs, this interaction among Facebook, its users, and third-party apps is one of the

primary means by which Facebook has disseminated user information to third parties. The

complaint alleges that when users accessed apps on the Facebook platform, the app developers
were not merely able to obtain information about the users they were interacting with; they were


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also able to obtain any information about the users’ Facebook friends that the users themselves

had access to. So, for example, if you decided to use an app on the Facebook platform to play a

video game, the video game company would be able to access not only your information but also

any information about your friends that you could obtain yourself. This includes a variety of

things that your friends might have intended to share only with a limited audience, such as

photographs, videos they made, videos they watched, religious preferences, posts, and even

sometimes private one-on-one messages sent through Facebook. And since most people have

dozens or hundreds of Facebook friends, each interaction with an app represents the disclosure of

a great deal of information about dozens or hundreds of people.

        The Cambridge Analytica story is an example of this. In 2013, Aleksandr Kogan created

an app called “MyDigitalLife.” Facebook allowed Kogan to market and operate this app on the

Facebook platform. The app invited Facebook users to answer a series of questions to help them

better understand themselves – a personality test of sorts. But when a user took the test, Kogan

was not merely able to collect information about that user; he was able to collect information on

the user’s Facebook friends. This allowed Kogan to compile a database with information on

roughly 87 million Facebook users, even though his app was only downloaded by around

300,000 people.

        The plaintiffs allege that from roughly 2009 to 2015, tens of thousands of app developers
like Kogan, operating on the Facebook platform, were able to interact with users to obtain this

type of information about users’ friends. The plaintiffs further allege that Facebook failed to

adequately disclose that even if users adjusted their privacy settings to specify that only their

friends would be allowed to see their information, this would not prevent app developers from

getting it.

        2. Continued disclosure to whitelisted apps. In 2014, in response to criticism of its

information-sharing practices, Facebook announced it would restrict app developers so they

would have access only to the information of the users the apps were interacting with (and not to
information of the users’ friends). But the plaintiffs allege that Facebook, despite its public


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promises to restrict access, continued to allow a preferred list of app developers to access the

information of users’ friends. The complaint describes these preferred app developers as

“whitelisted apps,” and alleges that Facebook secretly continued to give these apps “special

access” to friends’ information because of the amount of revenue these apps generated for

Facebook. Thousands of companies were allegedly on this list, including Airbnb, Netflix, UPS,

Hot or Not, Salesforce, Lyft, Telescope, and Spotify.

       3. Sharing sensitive user information with business partners. Meanwhile, Facebook has

maintained a separate information-sharing program with companies that the plaintiffs describe as

“business partners.” The complaint’s allegations about these business partners are somewhat

more difficult to pin down than the allegations about app developers. Indeed, there may be some

overlap between companies in the “app” category and the “business partner” category.

Moreover, the plaintiffs allege that Facebook outsourced to business partners “the time, labor,

and money required to build Facebook’s Platform on different devices and operating systems,”

but that doesn’t seem to describe all the “business partners” listed in the complaint. The

non-exclusive list of companies that the complaint identifies as business partners includes device

manufacturers, such as Blackberry and Samsung. It includes websites such as Yahoo, and the

Russian search engine Yandex. And it includes companies such as Amazon, Microsoft, and

Sony. This list came from Facebook itself, which asserted that it had “integration partnerships”
with these companies in a letter to the Energy and Commerce Committee of the U.S. House of

Representatives.

       Although the category is somewhat vague, the alleged misconduct is relatively

straightforward. The complaint alleges that Facebook shared information about its users with this

non-exclusive list of business partners, and that those companies in turn shared data with

Facebook. “These partnerships,” the complaint alleges, “were built in part on ‘data reciprocity.’

Facebook and its partners agreed to exchange information about users’ activities with each

other.” And as with app developers, Facebook allegedly would give a business partner access not
only to information of the user with whom the business partner interacted, but also to


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information of that user’s friends. The plaintiffs allege that, for most of the period covered by the

lawsuit, Facebook never disclosed that it was sharing user information with business partners in

this fashion.

       4. Failure to restrict the use of sensitive information. In addition to complaining about

Facebook’s dissemination of private user information to app developers, whitelisted apps, and

business partners, the plaintiffs allege that Facebook did nothing to prevent these third parties

from misusing the information Facebook allowed them to access. Specifically, the plaintiffs

allege that: (i) Facebook purported to have a policy preventing app developers from using

information for any purpose other than enhancing the interaction between the app and the person

who was using the app on the Facebook platform; but (ii) Facebook did nothing to enforce this

policy, thus giving users the impression that their information was protected, while in reality

countless app developers were using it for other purposes.

       Again, the Cambridge Analytica story is an example of this. According to the plaintiffs, if

Facebook was truly enforcing a policy of limiting the use of user information by app developers,

Kogan would have been precluded from extracting all that sensitive information about users’

friends to employ for his own research, and he would certainly have been precluded from selling

it to Cambridge Analytica. The plaintiffs allege that this was the norm with the tens of thousands

of app developers who interacted with users on the Facebook platform – that any policy
Facebook purported to have restricting the use of information by third parties was nonexistent in

reality, because Facebook was intent solely on generating revenue from the access it was

providing.

       Based on the four core categories of misconduct described above, the plaintiffs assert a

variety of legal claims. They bring a privacy-based tort claim under California law for the

unauthorized disclosure of private facts. They assert another privacy-based tort claim for

intrusion into private affairs, along with a similar claim based on the right to privacy enshrined in

the California Constitution. They bring two claims based on federal statutes: the Stored
Communications Act (which prohibits the unauthorized disclosure of information from


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computers) and the Video Privacy Protection Act (which prohibits disclosure of a person’s video

viewing habits). And the plaintiffs bring a variety of other California law claims that don’t relate

as directly to privacy but are nonetheless based on assertions that Facebook failed to protect their

privacy. Such claims include breach of contract (for allowing third parties to obtain sensitive

user information despite promising to protect it), deceit (for tricking users about the degree to

which their information could be accessed), and negligence (for failing to prevent third parties

from misusing sensitive information despite Facebook’s duty to protect that information). As

mentioned earlier, many of these purported claims actually have multiple distinct claims built

into them. Facebook has moved to dismiss all the claims, both for lack of standing and on the

merits.

                                 II. EXPECTATION OF PRIVACY

          Facebook’s motion to dismiss is littered with assumptions about the degree to which

social media users can reasonably expect their personal information and communications to

remain private. Because Facebook’s view of this issue pervades so many of its individual legal

arguments – and because Facebook’s view is so wrong – it is addressed at the outset.

          Facebook’s view is that once you make information available to your friends on social

media, you completely relinquish any privacy interest in that information. For this reason,

Facebook insists, it does not matter whether Facebook users consented to the company’s
information-sharing practices. Facebook asserts that even if users didn’t consent, and even if

users intended to restrict access to friends only, and even if Facebook had explicitly promised not

to share their information with anyone else, the users would have no right to complain that their

privacy was invaded by the disclosure or misuse of their sensitive information. Although this

argument was implicit in Facebook’s papers, it became explicit at the hearing on the motion to

dismiss. Dkt. No. 287 at 7 (hearing transcript).2

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  Facebook appears to contend that this issue relates both to standing and to the merits of any
claims in which the plaintiffs assert an expectation of privacy (such as the privacy claims
brought under California tort law or the California Constitution). As discussed in Section IV with
respect to consent, the issue of whether users have a reasonable expectation of privacy in


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        The problem with Facebook’s argument is that it treats privacy as an all-or-nothing

proposition – either you retain a full privacy interest by not sharing information with anyone, or

you have no privacy interest whatsoever by virtue of sharing it even in a limited fashion. In

reality, there can be “degrees and nuances to societal recognition of our expectations of privacy:

the fact that the privacy one expects in a given setting is not complete or absolute does not render

the expectation unreasonable as a matter of law.” Sanders v. American Broadcasting Companies,

Inc., 20 Cal. 4th 907, 915 (1999); see also Opperman v. Path, Inc., 84 F. Supp. 3d 962, 991-93

(N.D. Cal. 2015). Thus, as the U.S. Supreme Court has explained, “information may be classified

as private if it is intended for or restricted to the use of a particular person or group or class of

persons” rather than being “freely available to the public.” U.S. Department of Justice v.

Reporters Committee for Freedom of the Press, 489 U.S. 749, 763-64 (1989) (emphasis added)

(quoting Webster’s Third New International Dictionary 1804 (1976)); see also id. at 763 (“Thus

the extent of the protection accorded a privacy right at common law rested in part on the degree

of dissemination of the allegedly private fact . . . .”). So, for example, if you are diagnosed with a

medical condition, you can expect to conceal it completely only if you keep it between you and

your doctor. But it does not follow that if you send an email to selected colleagues and friends

explaining why you’ll be out of commission for a while, you’ve relinquished any privacy interest

in your medical condition, such that the email provider could disseminate your diagnosis to
anyone who might be interested in your health status. Similarly, social media users can have

their privacy invaded if sensitive information meant only for a few dozen friends is shared more

widely.3

        Although Facebook refuses in this case to acknowledge its users’ privacy interests, it has

done so in other court cases. For example, in a brief filed with the California Supreme Court, for


information they share with their social media friends is best understood as relating to the merits,
not standing. See, e.g., American Farm Bureau Federation v. U.S. Environmental Protection
Agency, 836 F.3d 963, 968 (8th Cir. 2016).
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  It seems quite possible that a user whose settings allow information to be shared not only with
friends, but friends of friends, loses any expectation of privacy, although that issue is not
squarely presented by this motion to dismiss.


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a case where Facebook fought against the compelled disclosure of a user’s posts, Facebook

compared information kept on social media to information kept on a smartphone: “The data on a

smartphone – like the data maintained in a social media account – can reveal an individual’s

private interests and concerns and where a person has been, which in turn reflects a wealth of

detail about a person’s familial, political, professional, religious, and sexual associations.”

Answer Brief on the Merits, Facebook, Inc. v. Superior Court, 2016 WL 684072 (Cal.), at *29

(brackets and internal quotations omitted) (quoting Riley v. California, 573 U.S. 373, 396

(2014)). For this reason, Facebook continued, “communications content of the kind maintained

by [social media] providers” carries with it such a significant expectation of privacy that even

law enforcement must get a warrant before accessing it from those providers. Id. In a different

California Supreme Court brief, Facebook took pains to juxtapose users who share

communications with the general public against users who share communications only with

friends: “These settings cannot be overridden by others; if a post is set to be viewable only by a

certain audience, it may not then be shared or forwarded through the Facebook platform to

someone outside that audience.” Answering Brief on the Merits, Facebook, Inc. v. Superior

Court, 2018 WL 2060039 (Cal.), at *16. Facebook added that even if users designate their

communications to be viewed by the general public, they can later “regain” their expectation of

privacy in that information by switching their settings back to a more restricted audience. See id.
at *28 n.4.

       Perhaps Facebook’s argument that social media accounts are like smartphones is an

exaggeration in the other direction. But it’s closer to the truth than the company’s assertions in

this case. Sharing information with your social media friends does not categorically eliminate

your privacy interest in that information, and the plaintiffs’ claims in this lawsuit must be

analyzed against that backdrop, rather than the backdrop Facebook attempts to paint in its motion

to dismiss.




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                                           III. STANDING

        To bring their claims in federal court, the plaintiffs must adequately allege (and

eventually prove) that they have “standing” under Article III of the United States Constitution.

This means, among other things, that the plaintiffs must allege they suffered an actual injury

from Facebook’s conduct that is both “concrete” and “particularized.” See Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1545 (2016).

        The plaintiffs allege three kinds of injury. First, they allege a simple “privacy injury” –

that is, injury from Facebook’s widespread disclosure of their sensitive information, including

their photographs, videos they made, videos they watched, religious preferences, posts, and even

private one-on-one messages sent through Facebook. Second, the plaintiffs allege they were

injured because Facebook’s dissemination of their personal information increased the risk that

they would become victims of identity theft. Third, the plaintiffs allege they were deprived the

economic value of their personal information as a result of its dissemination, the theory

apparently being that if their information had remained private, they could have sold that

information to advertisers or data brokers themselves.

        The second and third alleged injuries do not confer Article III standing. Regarding the

risk of identity theft, this is not a case involving, say, hackers, and it is not a case about the theft

of, say, social security or credit card numbers. Although the risk of identity theft is admittedly
greater than if Facebook had not made the plaintiffs’ personal information available, the risk is

too speculative to confer standing. Compare In re Zappos.com, Inc., 888 F.3d 1020, 1024-29

(9th Cir. 2018). Regarding loss of value, although it’s true that each user’s information is worth a

certain amount of money to Facebook and the companies Facebook gave it to, it does not follow

that the same information, when not disclosed, has independent economic value to an individual

user. The plaintiffs do not plausibly allege that they intended to sell their non-disclosed personal

information to someone else. Nor, in any event, do they plausibly allege that someone else would

have bought it as a stand-alone product. The plaintiffs’ economic-loss theory is therefore purely
hypothetical and does not give rise to standing. See In re Facebook Internet Tracking Litigation,


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140 F. Supp. 3d 922, 931-32 (N.D. Cal. 2015); Opperman v. Path, Inc., 87 F. Supp. 3d 1018,

1057 (N.D. Cal. 2014); Yunker v. Pandora Media, Inc., 2013 WL 1282980, at *4 (N.D. Cal. Mar.

26, 2013); Low v. LinkedIn Corp., 2011 WL 5509848, at *4-5 (N.D. Cal. Nov. 11, 2011).4

        But the first alleged injury – that the plaintiffs’ sensitive information was disseminated to

third parties in violation of their privacy – is sufficient to confer standing. Facebook argues that a

“bare” privacy violation, without “credible risk of real-world harm” such as identity theft or

other economic consequences, cannot rise to the level of an Article III injury. But it’s black-letter

law that an injury need not be “tangible” to be cognizable in federal court. Spokeo, Inc. v.

Robins, 136 S. Ct. 1540, 1549 (2016) (“Although tangible injuries are perhaps easier to

recognize, we have confirmed in many of our previous cases that intangible injuries can

nevertheless be concrete.”). And courts have often held that this particular type of intangible

injury – disclosure of sensitive private information, even without further consequence – gives

rise to Article III standing.

        Indeed, the Ninth Circuit has repeatedly explained that intangible privacy injuries can be

redressed in the federal courts. This issue has tended to come up recently in cases where a

plaintiff alleges standing based on the violation of a statute whose purpose is to protect privacy.

In such cases, the alleged violation of the statute does not automatically give rise to standing. For

a statutory violation to create standing, the statute must protect against a concrete and
particularized injury that’s cognizable within the meaning of Article III.

        Most recently on this issue, the Ninth Circuit handed down an opinion in a different case

against Facebook – a case involving Facebook’s use of facial recognition technology in alleged

violation of an Illinois statute. The Court held that “the development of a face template using

facial recognition technology without consent (as alleged here) invades an individual’s private

affairs and concrete interests.” Patel v. Facebook, Inc., 2019 WL 3727424, at *5 (9th Cir. Aug.


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  But see In re Facebook Privacy Litigation, 572 F. App’x 494, 494 (9th Cir. 2014); Williams v.
Facebook, Inc., No. 18-cv-01881-RS, Dkt. No. 128 at 11-13 (N.D. Cal. Aug. 29, 2019); Svenson
v. Google Inc., 2015 WL 1503429, at *5 (N.D. Cal. Apr. 1, 2015).


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8, 2019). Earlier, in Eichenberger v. ESPN, the Ninth Circuit held that an alleged violation of the

Video Privacy Protection Act creates standing, explaining that the statute “protects privacy

interests . . . generally by ensuring that consumers retain control over their personal

information,” and emphasizing that “privacy torts do not always require additional consequences

to be actionable.” 876 F.3d 979, 983 (9th Cir. 2017). And in Van Patten v. Vertical Fitness

Group, LLC, the Ninth Circuit concluded that alleged violations of the Telephone Consumer

Protection Act, which creates a cause of action to remedy the injury of receiving annoying

telemarketing text messages, give rise to standing because such messages, “by their nature,

invade the privacy and disturb the solitude of their recipients.” 847 F.3d 1037, 1043 (9th Cir.

2017). The Van Patten court emphasized that a lawsuit alleging this type of intrusion under the

statute may proceed in federal court even if no additional, tangible harm is alleged. Id.

       There are many similar cases involving common law claims. For example, Judge Seeborg

recently held that a lawsuit asserting common law privacy claims against Facebook based on the

collection and disclosure of users’ Android data could proceed in federal court despite the

absence of any alleged economic injury. Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1050

(N.D. Cal. 2018) (“The complaint need not include economic injury to establish standing for the

intrusion upon seclusion, invasion of privacy, or unjust enrichment claims.”). In reaching this

conclusion, Judge Seeborg quoted another decision involving Facebook – this one by Judge
Davila – which held: “a plaintiff need not show actual loss to establish standing for common-law

claims of invasion of privacy and intrusion upon seclusion.” In re Facebook Internet Tracking

Litigation, 263 F. Supp. 3d 836, 843 (N.D. Cal. 2017); see also In re Google Inc. Cookie

Placement Consumer Privacy Litigation, 806 F.3d 125, 134-35 (3d Cir. 2015) (holding that the

plaintiffs had standing to assert federal statutory and California common law privacy claims

based on allegations that the defendants implanted tracking cookies on their personal computers);

id. at 134 (“For purposes of injury in fact, the defendants’ emphasis on economic loss is

misplaced.”); Opperman v. Path, Inc., 87 F. Supp. 3d 1018, 1057 (N.D. Cal. 2014).
       To be sure, Facebook cites a few cases that lean in the other direction. For example, in a


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2012 case, Judge Grewal rejected the argument that the “loss of personal information, even in the

absence of any cognizable economic harm, was sufficient to confer Article III standing.” In re

Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at *5 (N.D. Cal. Dec. 28, 2012). But

Judge Grewal’s ruling seems to assume that economic harm is required rather than examining

whether it’s required. This appears equally true of the earlier district court cases on which he

relied. See LaCourt v. Specific Media, Inc., 2011 WL 1661532, at *4 (C.D. Cal. Apr. 28, 2011);

In re iPhone Application Litigation, 2011 WL 4403963, at *5 (N.D. Cal. Sept. 20, 2011).

Ultimately, the only reason Judge Grewal gave for his ruling was that “nothing in the precedent

of the Ninth Circuit or other appellate courts confers standing on a party that has brought

statutory or common law claims based on nothing more than the unauthorized disclosure of

personal information . . . .” In re Google, Inc. Privacy Policy Litigation, 2012 WL 6738343, at

*5. Whether or not he was right about precedent at the time, the cases cited above provide ample

support for the conclusion that this type of privacy invasion alone creates standing.

       And those cases are right. To say that a “mere” privacy invasion is not capable of

inflicting an “actual injury” serious enough to warrant the attention of the federal courts is to

disregard the importance of privacy in our society, not to mention the historic role of the federal

judiciary in protecting it. “In a democratic society privacy of communication is essential if

citizens are to think and act creatively and constructively.” Bartnicki v. Vopper, 532 U.S. 514,
533 (2001) (quoting President’s Commission on Law Enforcement and Administration of

Justice, The Challenge of Crime in a Free Society 202 (1967)). For this reason, our country has

countless federal laws on the books designed to protect our privacy – laws that the federal courts

are charged with enforcing.5 Perhaps the most prominent of these is the Wiretap Act, colloquially


5
 See, e.g., Health Insurance Portability and Accountability Act of 1996 (HIPAA), Pub. L. No.
104-191, 110 Stat. 1936; Children’s Online Privacy Protection Act of 1998, 15 U.S.C. §§ 6501-
6506 (2012); Driver’s Privacy Protection Act of 1994, 18 U.S.C. §§ 2721-2775 (2012);
Electronic Communications Privacy Act of 1986, Pub. L. No. 99-508, 100 Stat. 1848; Privacy
Protection Act of 1980, Pub. L. No. 96-440, 94 Stat. 1879; Right to Financial Privacy Act of
1978, 12 U.S.C. §§ 3401-3422 (2012); Privacy Act of 1974, 5 U.S.C. § 552a (2012).



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known as “Title III,” a bedrock privacy protection which makes it unlawful for either the

government or a private party to intercept someone’s “wire, oral, or electronic communication”

without consent. 18 U.S.C. § 2511. Would Facebook really argue that a violation of this statute

inflicts no “actual injury” on the participants in the conversation unless interception of the

communication ends up visiting a more tangible, secondary harm on the participants?

       Of course, a plaintiff cannot get into court by simply intoning that she suffered an

intangible privacy injury. But once it is understood that an intangible privacy injury can be

enough, it becomes easy to conclude that the alleged privacy injury here is enough. The alleged

injury is “concrete” largely for the reasons already discussed – if you use a company’s social

media platform to share sensitive information with only your friends, then you suffer a concrete

injury when the company disseminates that information widely. And the alleged injury is

“particularized,” at least for most of the plaintiffs. To be particularized, the injury must have

been suffered directly by the individual plaintiff, and it must be distinct from the more general

type of objection that members of the public at large might have to a defendant’s unlawful

conduct. See Spokeo, 136 S. Ct. at 1548. The plaintiffs allege that Facebook violated their

privacy rights (and other rights) because: (i) they engaged in sensitive communications that

included photographs, videos they made, videos they watched, Facebook posts, likes, and private

one-on-one messages; (ii) they intended to share these communications only with a particular
person or a group of people; (iii) Facebook made those communications widely available to third

parties in a variety of ways; and (iv) as a result, third parties were able to develop detailed

dossiers on the plaintiffs including information about their locations, their religious and political

preferences, their video-watching habits, and other sensitive matters.6

       Facebook makes one argument regarding particularity that, if successful, would merely


6
  It’s possible that a few of the named plaintiffs have not adequately alleged a privacy injury
based on their own Facebook experience. However, Facebook does not single out any particular
named plaintiff in its motion, and most of the plaintiffs have adequately alleged standing.
Facebook will be given an opportunity to attempt to knock out individual named plaintiffs on
standing grounds at a later stage.


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narrow the scope of this case rather than ending it entirely. Recall that this lawsuit arose from the

Cambridge Analytica scandal, with the plaintiffs originally alleging that Facebook gave

Aleksandr Kogan access to their information (with Kogan, in turn, giving it to Cambridge

Analytica). The plaintiffs initially alleged, plausibly and with specificity, that Kogan likely

accessed their own information. But the plaintiffs now allege that Facebook disseminated

sensitive user information far more widely, to tens of thousands of app developers and business

partners. Facebook argues that because the complaint lacks specific allegations about which app

developers or business partners obtained which plaintiffs’ private information, the plaintiffs have

not alleged an injury particular to them, at least beyond the injury from the disclosure to Kogan.

       This argument puts too great a burden on the plaintiffs, at least at the pleading stage (and

probably at any stage). If, as alleged in the complaint, Facebook made users’ “friends only”

information readily available to such a broad swath of companies (Apple, Samsung, AT&T,

Sprint, T-Mobile, Verizon, Google, Huawei, Microsoft, Mozilla, LG, and Amazon, to name just

a few), it is virtually inevitable that some of these companies obtained information on the named

plaintiffs. Cf. Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1021 (N.D. Cal. 2012). This type of

privacy invasion is no less an Article III injury simply because the plaintiffs are left to guess

precisely which companies (other than Facebook) were involved.

       Accordingly, for all the claims addressed by this ruling, Facebook cannot obtain
dismissal for lack of Article III standing.

                                              IV. CONSENT

       There is one more global issue to discuss before proceeding to a claim-by-claim analysis

of the complaint. Facebook contends that the plaintiffs agreed, when they signed up for their

accounts, that Facebook could disseminate their “friends only” information in the way it has

done. If the complaint and any judicially noticeable materials were to establish that Facebook

users consented to the alleged misconduct, this would indeed require dismissal of virtually the

entire case. However, the complaint adequately alleges that some users did not consent to any of
Facebook’s practices. And although Facebook is correct as a matter of law that some users


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consented to the first category of conduct (sharing information with app developers), the

complaint adequately alleges that those users did not consent to the other three categories

(sharing information with whitelisted apps starting in 2015, sharing information with business

partners, and failing to protect user information from misuse).

                                                  A.

        As an initial matter, Facebook asserts that consent is actually a standing issue. It contends

that there is no true Article III injury on the facts of this case because the plaintiffs cannot be

injured by something they allowed Facebook to do.

        But the whole point of Article III standing is that some claims don’t belong in federal

court even if the plaintiff would win on the merits. Therefore, the standing inquiry in this case is:

assuming the plaintiffs could win on the merits, should their claims nonetheless be dismissed for

lack of standing because the injury they allegedly suffered is not cognizable in federal court? The

plaintiffs allege they did not consent – and this is an allegation they would need to prevail on if

they are to succeed on the merits. Thus, the Court must assume, for purposes of the standing

inquiry, that the plaintiffs did not consent. “A party need not prove that the action it attacks is

unlawful in order to have standing to level that attack . . . . Rather, in determining whether

plaintiffs have standing, we must assume that on the merits they would be successful in their

claims.” Muir v. Navy Federal Credit Union, 529 F.3d 1100, 1106 (D.C. Cir. 2008) (alterations
omitted).

        This rule holds even when the standing question overlaps substantially with the question

of whether a plaintiff has stated a claim. “As a general rule, when the question of jurisdiction and

the merits of the action are intertwined, dismissal for lack of subject matter jurisdiction is

improper.” Williston Basin Interstate Pipeline Co. v. An Exclusive Gas Storage Leasehold &

Easement in the Cloverly Subterranean Geological Formation, 524 F.3d 1090, 1094 (9th Cir.

2008) (internal quotations and alterations omitted); see also Safe Air for Everyone v. Meyer, 373

F.3d 1035, 1040 (9th Cir. 2004) (“The district court erred in characterizing its dismissal of Safe
Air’s complaint under Rule 12(b)(1) because the jurisdictional issue and substantive issues in


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this case are so intertwined that the question of jurisdiction is dependent on the resolution of

factual issues going to the merits.”).

       In privacy cases, the standing and merits inquiries will often be intertwined. For example,

the extent to which you have a reasonable expectation of privacy relates not only to whether

you’ve stated a claim for invasion of privacy but whether you were injured by the invasion in the

first place. And this will often be true of consent – if you agree to the disclosure of your personal

information, it may be difficult to argue that you’ve been “injured” in a legal sense by the

disclosure you permitted. But in virtually every privacy case, consent will be part of the merits

inquiry. Because courts presume success on the merits when evaluating standing, these are not

standing issues in privacy cases.7

       A good illustration of this is Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037

(9th Cir. 2017). In that case, which was in a summary judgment posture, the Ninth Circuit held

that the plaintiffs established standing to sue based on the receipt of allegedly unwanted text

solicitations. But in the same opinion, the Court held that the plaintiffs must lose on the merits,

because they consented to receive those texts. Id. at 1044. Although courts occasionally conflate

standing with the merits in privacy cases, they generally recognize the need to keep them

separate. See, e.g., American Farm Bureau Federation v. U.S. Environmental Protection Agency,

836 F.3d 963, 968 (8th Cir. 2016) (“The EPA reasons that because the disputed information was
publicly available on the Internet or available for public review, further distribution of the

information could not establish any injury. That conclusion, however, assesses the merits of the

asserted privacy interest under FOIA rather than whether the associations’ members had a legally

cognizable interest in preventing the agency’s release of their personal information.”); In re

Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1216 (C.D. Cal. 2017)

7
  It’s possible that a federal court confronted with truly frivolous privacy claims might
reasonably consider intertwined issues as a matter of standing – for example, if the absence of a
reasonable privacy expectation, or the presence of consent, were obviously and totally
indisputable. Cf. Williston Basin Interstate Pipeline, 524 F.3d at 1094. But even in a rare case
like that, it still probably makes more sense for the court to dismiss the claims on the merits
(which, after all, is just as easy to do, and also gives the defendant the benefit of preclusion).


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(rejecting, in a privacy case, a standing argument that “improperly conflates the merits of

Plaintiffs’ claims with their standing to bring suit”); id. (“Taken to its logical conclusion,

Defendants’ argument absurdly implies that a court could never enter judgment against a

plaintiff on a VPPA claim if it found that the disclosed information was not within the statutory

definition of personally identifiable information; instead, it would have to remand or dismiss for

lack of jurisdiction.”); Low v. LinkedIn Corp., 900 F. Supp. 2d 1010, 1020 (N.D. Cal. 2012)

(explaining that whether a plaintiff adequately alleges standing to assert privacy claims “in no

way depends on the merits” of those claims (quoting Warth v. Seldin, 422 U.S. 490, 500

(1975))).

                                                  B.

       Whether the plaintiffs consented to Facebook’s information-sharing practices is thus a

merits inquiry. And the parties actually agree on several aspects of that inquiry. First, they agree

that, for virtually all claims, the question of whether Facebook users consented to the alleged

conduct is one of contract interpretation governed by California law.8 Second, the parties agree

that California law requires the Court to pretend that users actually read Facebook’s contractual

language before clicking their acceptance, even though we all know virtually none of them did.

Constrained by this fiction, the Court must analyze the relevant contractual language to assess

whether the users “agreed” to allow Facebook to disseminate their sensitive information in the
ways described in the lawsuit. Third, the parties agree that if the contract language at issue is

reasonably susceptible to more than one interpretation, with one of those interpretations

suggesting consent and another belying it, the Court cannot decide the consent issue in

Facebook’s favor at the motion to dismiss stage. And fourth, they agree that the contract

language must be assessed objectively, from the perspective of a reasonable Facebook user. The

8
  For the claim under the federal Video Privacy Protection Act, consent is governed by the terms
of the statute itself. This issue is discussed in the portion of Section V dealing with that claim.
The federal Stored Communications Act precludes information-sharing by computer service
providers without “lawful” consent; this is presumably a reference to state law, and the parties
don’t suggest otherwise, so this ruling assumes that California law applies to the consent issue
relating to that claim.


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upshot, at this early stage of the case, is that if a reasonable Facebook user could plausibly have

interpreted the contract language as not disclosing that Facebook would engage in particular

conduct, then Facebook cannot obtain dismissal of a claim about that conduct (at least not based

on the issue of consent).9

       One difficulty with the consent question is that the lawsuit covers a nearly 13-year period

– from 2007 to the present. Obviously, Facebook said different things to its users over that

period, and its practices changed as well. And it would be impossible at this stage to analyze

which disclosures apply to which plaintiffs, because the parties have not presented the

information necessary to conduct that inquiry. The analysis in this ruling will primarily focus on

the documents presented to users who signed up for accounts in the middle of 2012. At least with

respect to the four categories of alleged misconduct addressed in this ruling, these mid-2012

documents provide a good exemplar of what Facebook users agreed to during much of the period

covered by this lawsuit; indeed, users agreed to substantially similar language between roughly

2009 and 2015. Thus, these documents allow the Court to assess consent as a general matter,

even if the analysis might not apply to every single plaintiff.10


9
  The parties disagree about whether consent should be treated as an element of the plaintiffs’
claims or as an affirmative defense to those claims. The answer is likely that consent is an
element for some claims and an affirmative defense for others. But at least for purposes of this
motion it does not matter, because in either case the question is whether the allegations in the
complaint and any judicially noticeable materials definitively establish that the plaintiffs
consented to the conduct. If the answer is yes, the Court must dismiss the claims regardless of
whether consent is an element or a defense. See, e.g., Rivera v. Peri & Sons Farms, Inc., 735
F.3d 892, 902 (9th Cir. 2013) (“When an affirmative defense is obvious on the face of a
complaint . . . a defendant can raise that defense in a motion to dismiss.”); see also Jablon v.
Dean Witter & Co., 614 F.2d 677, 682 (9th Cir. 1980).
10
   Incidentally, the fact that the plaintiffs seek to represent a class of people who used Facebook
any time between 2007 and the present raises the possibility that some aspects of this lawsuit are
time-barred, and Facebook presses this issue in its motion to dismiss. For example, Facebook
notes that it was the subject of a consent order by the Federal Trade Commission in 2012, based
on similar information-sharing practices. That consent order may have put the plaintiffs on notice
of Facebook’s conduct prior to the entry of the order (although presumably it would not have put
them on notice of any misconduct by Facebook following entry of the consent order). Facebook
also invokes a single news article from 2015 (which this Court may consider on a motion to
dismiss because the article is incorporated by reference into the complaint). That article discusses
the company’s information-sharing practices, and Facebook asserts that this should have put


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       People who signed up for accounts in mid-2012 were required to accept Facebook’s

“Statement of Rights and Responsibilities,” or “SRR.” The SRR itself contains some statements

about privacy and information-sharing. But it also references, and contains links to, several other

policies, including the “Data Use Policy.”11 Although both sides agree that the language in the

SRR is contractual, they dispute whether the Data Use Policy is part of that contract. This dispute

matters because the Data Use Policy more explicitly discusses sharing information with third

parties, and it contains the language Facebook primarily relies on to contend that its users

consented to much of the alleged misconduct. The SRR is attached as Appendix A to this ruling,

and the Data Use Policy is attached as Appendix B.12

       The first section of the SRR, entitled “Privacy,” calls out the Data Use Policy in the

second sentence, provides a link to it, and encourages the user to read it. This first section of the

SRR states in full: “Your privacy is very important to us. We designed our Data Use Policy to

make important disclosures about how you can use Facebook to share with others and how we

collect and can use your content and information. We encourage you to read the Data Use Policy,

and to use it to help you make informed decisions.” Appendix A at 2. Later on the same page, the

SRR tells users to read the Data Use Policy to learn about “how you can control what

information other people may share with applications.” Id. And at the end, the SRR provides a



everyone on notice of its conduct. This seems more dubious than the argument about the FTC’s
2012 consent order. But in any event, statutes of limitations provide an affirmative defense,
which normally must be raised at summary judgment rather than on a motion to dismiss. U.S. ex
rel. Air Control Technologies, Inc. v. Pre Con Industries, Inc., 720 F.3d 1174, 1178 (9th Cir.
2013). The only exception is when it is absolutely clear from the allegations in the complaint and
judicially noticeable material that a claim is untimely and no tolling doctrine could apply. That
cannot be said here – at best Facebook has raised a significant possibility that claims relating to
pre-2012 conduct may be time-barred, a defense that will need to be decided on summary
judgment or at trial.
11
   Earlier versions of the “Statements of Rights and Responsibilities” were called “Terms of
Service.” Earlier versions of the “Data Use Policy” were called the “Privacy Policy.”
12
   The request to consider these documents, which are exhibits 23 and 44 to Facebook’s request
for judicial notice at Docket Number 187, is granted because they are incorporated by reference
into the complaint. The request to consider exhibits 14, 19, 26, 39, 40, 43, 46, and 47 is granted
for the same reason. Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir. 2018).
All other requests, beyond those granted in this footnote and in Footnote 10, are denied, although
in any event they would not affect the outcome of this motion. See id.


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list of additional documents the user “may also want to review,” including the Data Use Policy,

which “contains information to help you understand how we collect and use information.” Id. at

11. This final section again includes a link to the Data Use Policy (along with several other

documents that are described as governing the relationship between Facebook and its users).

       This is sufficient to incorporate the Data Use Policy into the contractual agreement

between Facebook and its users. Indeed, California case law makes it quite easy to incorporate a

document by reference. “The contract need not recite that it incorporates another document, so

long as it guides the reader to the incorporated document.” Shaw v. Regents of University of

California, 58 Cal. App. 4th 44, 54 (1997) (quotations omitted). What’s needed is simply that the

reference to the document be unequivocal, that the document be called to the attention of the

contracting parties, and that the terms of the document be easily available to the contracting

parties. Id.; see also Wolschlager v. Fidelity National Title Insurance Co., 111 Cal. App. 4th 784,

790-91 (2003); In re Anthem, Inc. Data Breach Litigation, 2016 WL 3029783, at *8 (N.D. Cal.

May 27, 2016); Koffler Electrical Mechanical Apparatus Repair, Inc. v. Wartsila North America,

Inc., 2011 WL 1086035, at *4-5 (N.D. Cal. Mar. 24, 2011). One could argue that the California

appellate courts have been too quick to find incorporation by reference and that more explicit

language should be required, particularly in the context of consumer contracts of adhesion. But

this Court must apply California case law, which militates in favor of the conclusion that the
Data Use Policy is incorporated into the SRR.

       Thus, the true legal question is whether, by “agreeing” to the SRR and Data Use Policy,

Facebook users consented to the alleged misconduct. In analyzing this question, it’s important to

reiterate the precise conduct at issue. Recall that the plaintiffs allege four categories of

misconduct: (i) Facebook allowed app developers to access sensitive information, not merely of

users they interacted with, but of the users’ friends; (ii) even after Facebook announced it would

no longer give app developers access to information of users’ friends, it secretly continued to

give “whitelisted apps” access; (iii) through some separate arrangement and by some separate
means, Facebook shared sensitive user information with its business partners; and (iv) although


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Facebook ostensibly had a policy of sharply limiting the use of the sensitive information it gave

to third parties, in fact Facebook imposed no limits whatsoever.

       It’s easy to conclude, at the pleading stage, that the second category of conduct was not

disclosed. In fact, Facebook does not even argue that its users assented to this practice. The same

goes for the third category: although Facebook points to a section in its Data Use Policy entitled

“Service Providers” which says “we give your information to the people and companies that help

us provide, understand, and improve the services we offer,” that statement does not come close

to disclosing the massive information-sharing program with business partners that the plaintiffs

allege in the complaint. Thus, for the claims based on sharing with whitelisted apps and business

partners, Facebook cannot prevail on consent, at least at this stage.

       In contrast, the first category of conduct – allowing the Aleksandr Kogans of the world to

interact with users and obtain information of the users’ friends through those interactions – was

disclosed in the terms agreed to by Facebook users, at least for a portion of the period covered by

this lawsuit. To begin, the SRR told users: “You own all of the content and information you post

on Facebook, and you can control how it is shared through your privacy and application

settings.” Appendix A at 2. As mentioned previously, the SRR also flagged for users the

possibility that other people “may share” their information “with applications,” and instructed

users to read the Data Use Policy to learn more about this. Id. In turn, the Data Use Policy said
that “if you share something on Facebook anyone who can see it can share it with others,

including the games, applications, and websites they use.” Appendix B at 10. And it instructed:

“If you want to completely block applications from getting your information when your friends

and others use them, you will need to turn off all Platform applications. This means you will no

longer be able to use any third-party Facebook-integrated games, applications, or websites.” Id.

       Thus, contrary to the plaintiffs’ argument, the language of these disclosures cannot be

interpreted as misleading users into believing that they merely needed to adjust their privacy

settings to “friends only” to protect their sensitive information from being disseminated to app
developers. Users were told that they needed to adjust their application settings too. To be sure,


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for the rare person who actually read the contractual language, it would have been difficult to

isolate and understand the pertinent language among all of Facebook’s complicated disclosures.

Thus, in reality, virtually no one “consented” in a layperson’s sense to Facebook’s dissemination

of this information to app developers. But under California law, users must be deemed to have

agreed to the language quoted in the preceding paragraph, which means that users who did not

properly adjust their application settings are deemed to have agreed that app developers could

access their information.13

       But there is a caveat. One inference from the complaint and the judicially noticeable

materials is that Facebook began to disclose this practice of giving app developers access to

friends’ information only around 2009. Thus, users who established Facebook accounts before

this time did not, at least based on the allegations in the complaint, agree to these terms when

they signed up. Facebook contends this does not matter, because those users agreed to be bound

by the SRR and Data Use Policy going forward, even when the terms changed. There appears to

be some disagreement in the courts about whether a unilateral modification provision of this sort

is permissible under California contract law, at least in circumstances where the party against

whom it is being asserted did not receive adequate notice of the modification. Compare Campos

v. JPMorgan Chase Bank, NA, 2019 WL 827634, at *10 (N.D. Cal. Feb. 21, 2019), with Rodman

13
   Incidentally, there is a pending case in which the Federal Trade Commission proposes a $5
billion civil penalty against Facebook, along with a 20-year consent decree. Stipulated Order for
Civil Penalty, Monetary Judgment, and Injunctive Relief, USA v. Facebook, Inc., No. 19-cv-
2184 (D.D.C. July 24, 2019). The lawsuit filed on behalf of the FTC accuses Facebook of,
among other things, failing to adequately disclose the practice of allowing app developers to
access user information through users’ friends. At first glance, this ruling’s conclusions
regarding consent might appear inconsistent with some of the allegations in the FTC lawsuit.
That lawsuit curiously neglects to mention the language that Facebook used in its Data Use
Policy, and therefore does not paint a complete picture of the communications between Facebook
and its users, at least with respect to users who signed up after 2009. But even considering the
disclosures in the Data Use Policy, the FTC’s position is not necessarily inconsistent with this
ruling. The FTC’s claims against Facebook are not based on California law; they are based on
alleged violations of the Federal Trade Commission Act and the earlier FTC consent order from
2012. While California law, for better or worse, allows Facebook to bury a disclosure of its
information-sharing practices in the fine print of its contractual language, the FTC consent order
required Facebook to disclose such practices prominently, in a way that would likely come to the
attention of Facebook users. More broadly, the consent order precluded Facebook from explicitly
or implicitly misrepresenting the extent to which the company protects user privacy.


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v. Safeway Inc., 2015 WL 604985, at *9-10 (N.D. Cal. Feb. 12, 2015), aff’d, 694 F. App’x 612

(9th Cir. 2017). But assuming for argument’s sake the general validity of Facebook’s unilateral

modification provision, it does not automatically follow that users consented to the particular

terms that Facebook subsequently added about sharing information with app developers. Even

the cases upholding unilateral modification provisions recognize that any authority to modify the

contract is constrained by the covenant of good faith and fair dealing. See, e.g., Campos, 2019

WL 827634, at *9. This means that a Facebook user, when consenting to the unilateral

modification provision, was consenting only to future modifications made in good faith.

According to the plaintiffs, Facebook made a massive change in its contract without directly

notifying its users, effectively adding a disclosure that “we will make your information readily

available to tens of thousands of app developers unless you take complicated measures to prevent

it.” If that’s true, it could very well constitute a breach of the covenant of good faith and fair

dealing, which would mean that the users didn’t consent to it.

       And users who did not agree to the practice in their contracts could have been kept

further in the dark about it by specific features of the Facebook platform. According to the

complaint, in 2009 Facebook added a feature for users to select their audience for specific posts,

choosing among “public,” “friends,” or a “custom” audience. Users were not informed, as part of

this selection process, that designation of a limited audience would not prevent app developers
from being part of that audience.

       Thus, at this stage, the Court cannot conclude as a matter of law that early Facebook

users consented to the later-announced information-sharing policy. This means that any plaintiff

who signed up before roughly 2009 may pursue claims based on this conduct (assuming they can

adequately allege the other elements of their claims).14

       The fourth category of alleged misconduct – failing to limit how third parties could use


14
  As previously mentioned, neither side has attempted to specify which plaintiffs may pursue
which claims, and it is unclear precisely when the disclosures changed on this issue; the parties
will have an opportunity to parse this out at a subsequent phase in the case.


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the sensitive information they accessed – is also somewhat complicated. The Data Use Policy,

after explaining to users that applications could obtain their information from their friends, stated

as follows: “If an application asks permission from someone else to access your information, the

application will be allowed to use that information only in connection with the person that gave

the permission and no one else.” Appendix B at 10. The Policy gives an example of this: “one of

your friends might want to use a music application that allows them to see what their friends are

listening to. To get the full benefit of that application, your friend would want to give the

application her friend list – which includes your User ID – so the application knows which of her

friends is also using it.” Id. From this example, it seems clear that the phrase “the application will

be allowed to use that information only in connection with the person that gave the permission”

means that if an app developer accesses your information through interaction with one of your

Facebook friends, it may use your information only as part of its interaction with that friend. It

therefore may not sell your information, or use it to develop a digital dossier on you for future

targeted advertising.

       Less clear is what Facebook is promising to do to protect users. Facebook interprets the

disclosure to mean, in essence, “we tell app developers that they can only use your information

to facilitate their interactions with your friends, but you can’t really be sure they’ll honor that.”

Perhaps a reasonable Facebook user could interpret the disclosure that way, which would mean
that the user, upon agreeing to the Data Use Policy, assumed the risk that app developers would

misuse the information. In other words, on this interpretation, users consented to an arrangement

whereby app developers could end up obtaining their sensitive information for any purpose. But

recall that in the context of this motion to dismiss the plaintiffs may be deemed to have

consented to this arrangement only if that is the only plausible interpretation. It is not – there are

at least two others. One equally plausible interpretation of the disclosure is that it assures users

that Facebook is actively policing the activities of app developers on its platform, and thereby

successfully preventing sensitive information from being misappropriated. Another plausible
interpretation is that the word “allowed” references a technological block of sorts – that is,


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perhaps a user could conclude that the Facebook platform has the ability to physically prevent

app developers from being able to “see” friend information outside the context of their

interactions with users. A user who has tried to access a fantasy football website at work, only to

see a message on his screen that he’s not “allowed” to access the site from that computer, might

interpret the disclosure this way. Indeed, the Data Use Policy elsewhere uses the word “allowed”

in a similar fashion, to connote a technological block. For example, it states: “If someone clicks

on a link to another person’s timeline, they’ll only see the things that they are allowed to see.”

Appendix B at 8. Thus, there are at least three plausible interpretations of the contract language,

two of which would lead to a conclusion that users did not consent but were misled, because

Facebook allegedly did nothing to enforce its purported policy against tens of thousands of app

developers who were freely making off with sensitive user information.15

       The bottom line on the issue of consent is this: the complaint plausibly alleges that some

users (and some plaintiffs) did not consent to the arrangement whereby app developers could

access their sensitive information simply by interacting with their friends. For the remaining

three categories of misconduct – sharing with whitelisted apps, sharing with business partners,

and failing to prevent misuse of information by third parties – the complaint plausibly alleges

that none of the users consented. The issue of consent therefore does not require dismissal in full

of any of the prioritized claims in this lawsuit.16


15
   Incidentally, with respect to the allegation that Facebook failed to restrict the use of
information by business partners (as opposed to app developers, to the extent those two
categories don’t overlap), it’s unclear whether this contract language applies at all. If it does not
apply, that would further weaken Facebook’s argument that users were on notice that the
company imposed no meaningful restriction on the use of information by business partners
(although it could also undermine the plaintiffs’ argument that Facebook committed a breach of
contract by failing to prevent business partners from misusing information). Whether this
language applies to restrictions on business partners, however, is not capable of firm resolution at
this stage.
16
   Facebook makes an additional argument that even if the plaintiffs didn’t explicitly consent to
the alleged conduct in contractual language, they did so implicitly because they were put on
notice of the conduct by Facebook’s non-contractual disclosures. That issue cannot be resolved
at the pleading stage in this case. See, e.g., In re Google Inc. Gmail Litigation, 2014 WL
1102660, at *16 (N.D. Cal. Mar. 18, 2014) (“Implied consent is an intensely factual question that
requires consideration of the circumstances . . . .”).


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                                    V. INDIVIDUAL CLAIMS

       The various global issues having been addressed (and the complaint having been

narrowed, for now, to claims based on the plaintiffs’ core allegations), it becomes less difficult to

sift through the individual claims asserted by the plaintiffs. Most of the claims will survive. The

specific outcome for each claim is as follows:

       •   Facebook’s motion to dismiss is granted in part and denied in part for the three
           privacy-based torts asserted under California law (public disclosure of private facts,
           intrusion into private affairs, and violation of the constitutional right to privacy).

       •   The motion is granted in part and denied in part for the claim based on the federal
           Stored Communications Act.

       •   The motion is denied in full for the federal Video Privacy Protection Act claim.

       •   The motion is denied in full for the California claim based on negligence and gross
           negligence.

       •   For the California claims based on deceit by concealment, breach of contract, breach
           of the implied covenant of good faith and fair dealing, and unjust enrichment, the
           motion is granted in part and denied in part.

       •   The motion is granted in full for violation of the right of publicity and the Unfair
           Competition Law.

       Public disclosure of private facts. For this tort to give rise to liability, the following must

occur: (i) the defendant must disclose a private fact about the plaintiff; (ii) the private fact must
not be a matter of public concern; (iii) the disclosure must be to the public; and (iv) the

disclosure must be offensive and objectionable to a reasonable person. See Doe v. Gangland

Productions., Inc., 730 F.3d 946, 958 (9th Cir. 2013). The plaintiffs have adequately alleged that

Facebook engaged in this conduct.

       Facebook argues that the information about users that it disclosed to app developers was

not “private” because users had allowed their Facebook friends to access that information. But as

discussed in Section II, your sensitive information does not lose the label “private” simply
because your friends know about it. Your privacy interest in that information may diminish




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because you’ve shared it with your friends, but it does not necessarily disappear. For example,

the plaintiffs allege that app developers accessed information about their religious preferences

and political views. Your friends may know about your religious and political views, but the

widespread dissemination of them can still invade your privacy. The plaintiffs also allege that

some of the information app developers received would allow them to discern a user’s location

(for example, a post saying “Check out where I’m staying in June!”). If you’ve told your friends

where you’ll be at a particular time, that does not preclude a lawsuit based on the widespread,

nonconsensual distribution of that information.

       Facebook also argues that the user information was not disseminated to “the public.” This

is based on the erroneous assumption, already rejected in Section III, that the plaintiffs have

failed to allege with sufficient particularity that their information was disclosed to anyone other

than Aleksandr Kogan. And dissemination of your private information to tens of thousands of

individuals and companies is generally going to be equivalent to making that information

“public.” Perhaps Facebook could have made a better argument, which is that there’s a

difference between publicizing your sensitive information for actual human beings to scrutinize

(like, in a newspaper) and allowing your information to be added to the vast sea of “big data”

that computers rather than humans analyze for the purpose of sending targeted advertising on

behalf of companies. Perhaps there is an argument that the former is the “public disclosure” of
information within the meaning of California law while the latter is not. But that is not an issue

that can be resolved at this stage of the litigation: Facebook does not pursue this argument, and in

any event the plaintiffs do not allege that their information was merely subject to relatively

anonymous computer analysis.

       Finally, Facebook contends that its disclosure of sensitive user information to app

developers and business partners would not be offensive to a reasonable person. Facebook makes

a similar argument for the next two claims discussed below (intrusion into private affairs and the

constitutional right to privacy), because those claims also require the plaintiff to allege (and
eventually prove) that the privacy violation was a serious breach of social norms. “Sharing is the


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social norm undergirding Facebook,” the company argues, “and Facebook did not breach that

social norm by sharing user data consistent with users’ preferences.” Motion to Dismiss at 41,

Dkt. No. 261-1. There are a number of problems with this assertion. First, it again erroneously

assumes a “norm” that there is no privacy interest in the information kept on social media. The

social norm Facebook created with its product is purposefully sharing with one’s friends, not

having one’s information shared by Facebook with unknown companies and individuals. Second,

it assumes that users consented to the widespread disclosure of their sensitive information, but

the plaintiffs have adequately alleged that they didn’t. Thus, at this stage of the case, the

plaintiffs have adequately alleged that Facebook’s conduct was offensive and an egregious

breach of social norms: it disclosed to tens of thousands of app developers and business partners

sensitive information about them without their consent, including their photos, religious

preferences, video-watching habits, relationships, and information that could reveal location. It

even allegedly disclosed the contents of communications between two people on Facebook’s

ostensibly private messenger system.17

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.18

       Intrusion on private affairs and violation of the constitutional right to privacy. The
analysis for these two tort claims is functionally identical, even though each claim is described

somewhat differently in the case law. “When both claims are present, courts conduct a combined

inquiry that considers (1) the nature of any intrusion upon reasonable expectations of privacy,

and (2) the offensiveness or seriousness of the intrusion, including any justification or other

relevant interests.” In re Facebook Internet Tracking Litigation, 263 F. Supp. 3d 836, 846 (N.D.


17
   The “big data” concept referenced in the preceding paragraph may also have relevance to
whether the privacy invasion is “offensive or serious,” but not at this stage.
18
   Unless stated otherwise, dismissal is without leave to amend because the Court cannot
conceive of a way the plaintiffs could successfully amend the claim based on the particular
factual theory involved.


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Cal. 2017) (internal quotations omitted). Under California law, courts must be reluctant to reach

a conclusion at the pleading stage about how offensive or serious the privacy intrusion is.

Williams v. Facebook, Inc., 384 F. Supp. 3d 1043, 1054 (N.D. Cal. 2018) (Whether conduct rises

to the level of highly offensive “is indeed a factual question best left for a jury.” (internal

quotations omitted)); Opperman v. Path, Inc., 205 F. Supp. 3d 1064, 1080 (N.D. Cal. 2016) (“A

judge should be cautious before substituting his or her judgment for that of the community.”).

For the reasons already discussed, the plaintiffs have adequately alleged that they suffered an

egregious invasion of their privacy when Facebook gave app developers and business partners

their sensitive information on a widespread basis.

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

       Stored Communications Act. The Stored Communications Act (“SCA”) is a federal law

that restricts when a computer service provider like Facebook may share the contents of a

communication with someone who is not party to that communication. See 18 U.S.C. § 2702.

The plaintiffs have plausibly alleged that Facebook violated the SCA.

       Facebook notes that there is an exception to SCA liability when one of the parties to the

communication consents to its disclosure by the computer service provider. 18 U.S.C.
§ 2702(b)(3). In the social media context, this means that whenever people make information

available to one another, there is no SCA violation if one of those people consents to the

disclosure of the information. Facebook contends that this exception applies here, because even

if a user didn’t directly consent to Facebook’s disclosure of information to app developers, the

user’s friend consented when that friend interacted with the app.

       There are two problems with this argument, at least at the pleading stage. First, it does

not respond to the allegations about Facebook’s decision to share user information with

whitelisted apps starting in 2015 or with business partners – nothing in the complaint or the
judicially noticeable material would permit a conclusion that either a plaintiff or a plaintiff’s


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Facebook friend permitted disclosure to those entities. Second, as to the typical app developer, as

discussed in Section IV, plaintiffs who signed up for Facebook before 2009 did not (if the

allegations of the complaint are to be believed) authorize Facebook to share information through

their friends with app developers. Nor is there a basis to conclude as a matter of law that their

friends authorized the app developers to receive this information. Neither side describes with any

specificity the dialogue that would have taken place between the friend and the app developer

that resulted in the app developer’s acquisition of communications that would otherwise be

protected by the SCA.

       The motion to dismiss this claim is granted with respect to the first category of conduct

for plaintiffs who consented to this conduct, as discussed in Section IV. It is denied in all other

respects.

       Video Privacy Protection Act. The Video Privacy Protection Act (“VPPA”) was passed

by Congress after a newspaper published a Supreme Court nominee’s video rental history. The

statute prohibits knowing disclosure of “personally identifiable information” by a “video tape

service provider.” 18 U.S.C. § 2710. The plaintiffs have adequately alleged that Facebook

violated the VPPA.

       Facebook first contends that the user information it shared with app developers,

whitelisted apps, and business partners is not “personally identifiable information.” But the
VPPA defines this broadly as “information which identifies a person as having requested or

obtained specific video materials or services. . . .” 18 U.S.C. § 2710(a)(3). Or as the Ninth

Circuit has put it, “information that would readily permit an ordinary person to identify a specific

individual’s video-watching behavior.” Eichenberger, 876 F.3d 979, 985 (9th Cir. 2017)

(quotations omitted). The plaintiffs adequately allege that Facebook regularly shared information

about the videos that users received in their private messages and about videos they “liked.”

Complaint ¶¶ 424, 867, 868. And it is reasonable to infer, at least at the pleading stage, that when

a user receives a video or likes a video, he watches the video, such that this information sheds
significant light on his video-watching behavior.


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       Facebook also contends it is not a “video tape service provider” within the meaning of

the VPPA, but that too cannot be decided in Facebook’s favor on this motion to dismiss. The

statute defines a video tape service provider as anyone “engaged in the business . . . of rental,

sale, or delivery of prerecorded video cassette tapes or similar audio visual materials . . . .” 18

U.S.C. § 2710(a)(4) (emphasis added).19 The plaintiffs allege that Facebook “regularly delivers”

video content to users and maintains a cache of videos and visual materials, including from

content providers like Netflix, for their delivery to users. Complaint ¶¶ 862, 864. Although one

could imagine a different conclusion at summary judgment once the evidence is examined, it is

plausible to conclude from these and related allegations that Facebook engages in the business of

delivering audio visual materials, and that its business is “significantly tailored to serve that

purpose.” See, e.g., In re Vizio, Inc., Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1221

(C.D. Cal. 2017).

       Facebook also did not obtain the type of consent necessary to authorize the sharing of this

information. The VPPA outlines specific requirements for consent in the context of sharing

video-information, including that it be set out in a separate form. See 18 U.S.C. § 2710(b)(2)(B).

Facebook does not argue that it obtained this type of consent from its users. Therefore, even

beyond the reasons discussed in Section IV relating to consent more generally, the plaintiffs

adequately allege that they did not consent within the meaning of the VPPA, and this applies to
all the information-sharing, for all time periods, discussed in this ruling.

       The motion to dismiss this claim is denied.

       Negligence and Gross Negligence. Negligence has four elements under California law:

duty, breach, causation, and injury. See Vasilenko v. Grace Family Church, 3 Cal. 5th 1077,

1083 (2017). The plaintiffs’ negligence claim is based on the fourth category of conduct, and it

adequately alleges each of the required elements as to that conduct. As discussed at length above,



19
  There is no dispute in this motion that at least some video files that get distributed on
Facebook’s platform qualify as “similar audio visual materials.” 18 U.S.C. § 2710(a)(4).


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the plaintiffs have alleged present and non-speculative privacy injuries.20 The plaintiffs have also

plausibly alleged that Facebook breached a duty to them. Facebook had a responsibility to handle

its users’ sensitive information with care. See Bass v. Facebook, Inc., 2019 WL 2568799, at *10

(N.D. Cal. June 21, 2019). And contrary to Facebook’s argument, the plaintiffs do not seek to

hold Facebook liable for the conduct of the app developers and business partners; they seek to

hold the company liable for its own misconduct with respect to their information. Specifically,

the plaintiffs allege that they entrusted Facebook with their sensitive information, and that

Facebook failed to use reasonable care to safeguard that information, giving third parties access

to it without taking any precautions to constrain that access to protect the plaintiffs’ privacy,

despite assurances it would do so. This lawsuit is first and foremost about how Facebook handled

its users’ information, not about what third parties did once they got hold of it.

       The various exculpatory clauses in Facebook’s terms also do not require dismissing the

negligence claim. While such clauses can successfully waive liability for ordinary negligence,

California law forbids limiting liability for gross negligence. City of Santa Barbara v. Superior

Court, 41 Cal. 4th 747, 777 (2007) (“[P]ublic policy generally precludes enforcement of an

agreement that would remove an obligation to adhere to even a minimal standard of care.”). The

complaint plausibly alleges gross negligence, since it contends that Facebook did essentially

nothing to safeguard users’ information – conduct that might well be characterized as lacking
“even scant care.” Id. at 754. Ordinary and gross negligence are not separate causes of action in

California. See Nypl v. Crisis Prevention Institute, 2018 WL 4488760, at *9 n.6 (N.D. Cal. Sept.

17, 2018). Thus, the applicability of the waiver will turn at least in part on the degree of

negligence (if any) that the plaintiffs can ultimately prove.

       The motion to dismiss this claim is denied.

20
  The parties’ briefs focus on the economic loss rule, which governs the availability of recovery
for purely economic losses in a tort action. But as previously discussed, the plaintiffs’ allegations
of various sorts of economic injury are too speculative to support either standing or substantive
legal claims. The economic loss rule is therefore irrelevant. There perhaps remains a question
whether the plaintiffs can recover for their intangible injuries on a negligence theory, but the
parties haven’t briefed this issue, and its resolution may require further factual development.


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       Deceit by concealment or omission. For a defendant to be liable for deceit by

concealment under California law, a variety of things must have occurred. See Cal. Civ. Code

§§ 1709-1710. First, the defendant must have: (i) had a duty to disclose a material fact to the

plaintiff; and (ii) intentionally concealed that fact with intent to defraud the plaintiff. Tae Youn

Shim v. Lawler, 2019 WL 2996443, at *17 (N.D. Cal. July 9, 2019). In addition, the plaintiff

must have: (iii) been unaware of that fact (and would have acted differently if he were aware),

and (iv) sustained some damage as a result. See id; see also Cal. Civ. Code § 1710(3). Because

this claim sounds in fraud, the plaintiffs are subject to a heightened pleading standard, which

means that they “must state with particularity the circumstances constituting fraud . . . .” See

Federal Rules of Civil Procedure 9(b).

       With respect to the allegations that Facebook improperly shared information with

standard app developers and failed to prevent third parties from improperly using sensitive

information, the plaintiffs have not satisfied the heightened pleading requirements necessary to

state a claim for deceit by concealment.21 However, if the plaintiffs’ allegations are true,

Facebook’s conduct with respect to whitelisted apps and business partners crosses into the realm

of fraudulent conduct. As discussed earlier, the plaintiffs have sufficiently alleged that their

privacy interests were harmed through the disclosure of their information to these entities. The

plaintiffs have also adequately alleged that Facebook intended to defraud its users regarding this
conduct: the plaintiffs contrast Facebook’s public-facing statements about protecting privacy and

restricting information-sharing with the reality of Facebook’s alleged practices, and that contrast

is a sufficient basis from which to infer fraudulent intent at the pleading stage.

       As with the negligence claim, Facebook is wrong to assert that its exculpatory clause

relieves it from liability for this claim. Under California law, Facebook’s exculpatory clause does

not apply to a claim sounding in fraud such as deceit by concealment. See Cal. Civ. Code § 1668

21
  Of course, dismissal of a subset of claims with prejudice does not preclude a plaintiff from
seeking revival if discovery reveals a factual basis that justifies reconsideration of this order. See
Fed. R. Civ. P. 54(b); WPP Luxembourg Gamma Three Sarl v. Spot Runner, Inc., 655 F.3d 1039,
1059 (9th Cir. 2011), abrogated on other grounds by Lorenzo v. SEC, 139 S. Ct. 1094 (2019).


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(“All contracts which have for their object, directly or indirectly, to exempt anyone from

responsibility for his own fraud, or willful injury to the person or property of another, or

violation of law, whether willful or negligent, are against the policy of the law.”); see also, e.g.,

Manderville v. PCG&S Group, Inc., 146 Cal. App. 4th 1486, 1500 (2007) (“It is well-established

in California that a party to a contract is precluded under section 1668 from contracting away his

or her liability for fraud or deceit based on intentional misrepresentation.”).

       The motion to dismiss is granted with respect to the first and fourth categories of conduct,

and denied with respect to the second and third categories of conduct.

       Breach of contract. The elements for breach of contract under California law are: (i) the

existence of a contract; (ii) the plaintiff’s performance or excuse for nonperformance of its side

of the agreement; (iii) the defendant’s breach; and (iv) resulting damage to the plaintiff. See

Buschman v. Anesthesia Bus. Consultants LLC, 42 F. Supp. 3d 1244, 1250 (N.D. Cal. 2014).

       As discussed in Section IV, the contract between Facebook and its users does not merely

consist of the SRR, as the plaintiffs contend. It also includes the Data Use Policy. This makes it

somewhat challenging to discern whether the plaintiffs have adequately alleged claims for breach

of contract, because the plaintiffs’ arguments are largely based on the assumption that the Data

Use Policy is not part of the contract. Nonetheless, once it’s understood that the Policy is part of

the contract, it becomes clear that the second, third, and fourth categories of alleged wrongdoing
addressed in this ruling give rise to claims for breach of contract. See Johnson v. City of Shelby,

574 U.S. 10, 10 (2014) (per curiam) (“Federal pleading rules . . . do not countenance dismissal

of a complaint for imperfect statement of the legal theory supporting the claim asserted.”);

Skinner v. Switzer, 562 U.S. 521, 530 (2011) (“[U]nder the Federal Rules of Civil Procedure,

a complaint need not pin plaintiff's claim for relief to a precise legal theory.”). The SRR states:

“You own all of the content and information you post on Facebook, and you can control how it is

shared through your privacy and application settings.” Appendix A at 2. The plaintiffs have

adequately alleged that Facebook breached this promise when it disclosed user information to
whitelisted apps and business partners without permission, and without giving the plaintiffs the


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ability to prevent this disclosure. In addition, for the allegations that Facebook allowed

companies to misuse the information, the complaint sufficiently alleges that Facebook did not

fulfill its promise in the Data Use Policy that apps would be allowed to use information “only in

connection with” that user’s friends. Complaint ¶ 569; Appendix B at 10.

       In contrast, the plaintiffs have not adequately alleged a breach of contract based on the

first category of wrongdoing: allowing standard app developers to obtain user information

through users’ friends. As discussed in Section IV, Facebook began disclosing this practice in its

contractual language starting in roughly 2009, which means that this conduct does not give rise

to a breach of contract claim for users who established their Facebook accounts after that time.

For users who established their accounts beforehand, the complaint plausibly alleges that the

practice wasn’t disclosed. But simple failure to disclose a practice doesn’t constitute a breach of

contract. And although it’s certainly conceivable that the practice violated provisions of

Facebook’s earlier contractual language, the plaintiffs do not identify or rely on any such

language in their complaint. Therefore, for all plaintiffs, the complaint does not articulate a

breach of contract theory based on the disclosure of sensitive user information to standard app

developers, even though the complaint alleges that some users didn’t consent to it.

       Facebook argues that the plaintiffs have not adequately alleged that they were damaged

by any breaches. But that is wrong. The plaintiffs can seek damages for “the detriment caused by
the breach.” Stephens v. City of Vista, 994 F.2d 650, 657 (9th Cir. 1993). As discussed in

Sections II and III, the detriment the plaintiffs suffered was an invasion of their privacy. Perhaps

some of the individual plaintiffs suffered a harm from this privacy invasion that can be measured

by compensatory damages. See, e.g., Windeler v. Scheers Jewelers, 8 Cal. App. 3d 844, 850-52

(Cal. Ct. App. 1970); Leavy v. Cooney, 214 Cal. App. 2d 496, 501-02 (Cal. Ct. App. 1963).

Perhaps others did not, but under California law even those plaintiffs may recover nominal

damages. Judicial Council of California Civil Jury Instruction 360; In re Facebook Privacy

Litigation, 192 F. Supp. 3d 1053, 1062 (N.D. Cal. 2016).
       The motion to dismiss this claim is granted with respect to the first category of


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wrongdoing. Because it is possible that the complaint could be amended to allege a breach of

contract claim for plaintiffs who established their accounts before Facebook disclosed the

practice, dismissal is with leave to amend for these plaintiffs only. The motion to dismiss this

claim is denied in all other respects.

        Breach of the implied covenant of good faith and fair dealing. In addition to explicit

promises, every contract includes an implicit promise not to take an action that would deprive the

other contracting party of the benefits of their agreement. See Rockridge Trust v. Wells Fargo,

N.A., 985 F. Supp. 2d 1110, 1156 (N.D. Cal. 2013). This obligation is known as the “implied

covenant of good faith and fair dealing,” and it protects the parties’ “reasonable expectations . . .

based on their mutual promises.” Digerati Holdings, LLC v. Young Money Entertainment, LLC,

194 Cal. App. 4th 873, 885 (2011). To state a claim for breach of this implied promise, “a

plaintiff must identify the specific contractual provision that was frustrated” by the defendant’s

conduct. Perez v. Wells Fargo Bank, N.A., 2011 WL 3809808, at *18 (N.D. Cal. Aug. 29, 2011).

This doctrine cannot, however, “impose substantive duties or limits on the contracting parties

beyond those incorporated in the specific terms of their agreement.” Guz v. Bechtel National

Inc., 24 Cal. 4th 317, 350 (2000).

        Just as they’ve stated claims for breach of contract with respect to the second, third, and

fourth categories of conduct, the plaintiffs have stated claims for breach of the implied covenant
of good faith and fair dealing for that conduct. Indeed, the case for breach of the implied

covenant is stronger, because even if Facebook were, at a later stage in the litigation, able to

identify a technical argument for why it did not quite violate the literal terms of its contract with

its users, it would be difficult to conclude (if the factual allegations in the complaint are true) that

Facebook did not frustrate the purposes of the contract, and intentionally so. But for the first

category of conduct, the plaintiffs have not offered sufficient information about the earlier

contractual language to assess whether the conduct frustrated the purpose of Facebook’s contract

with its users.
        Accordingly, with respect to the first category of conduct, this claim for breach of the


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implied covenant is, along with the parallel claim for breach of contract, dismissed. Dismissal is

with leave to amend for plaintiffs who signed up before the information-sharing practice was

included in the contractual language, and without leave to amend for those who signed up after it

was disclosed.22

       Unjust Enrichment. The plaintiffs also state a claim for unjust enrichment. Specifically,

they allege that even if they have no remedy for breach of contract, they should be able to

recover amounts that Facebook gained by improperly disseminating their information. The

plaintiffs are permitted to plead claims for breach of contract and unjust enrichment in the

alternative. Bruton v. Gerber Production Co., 703 F. App’x 468 (9th Cir. 2017); In re Vizio, Inc.,

Consumer Privacy Litigation, 238 F. Supp. 3d 1204, 1233 (C.D. Cal. 2017); Hartford Casualty

Insurance Co. v. J.R. Marketing., L.L.C., 61 Cal. 4th 988, 998 (2015). And even if the plaintiffs

suffered no economic loss from the disclosure of their information, they may proceed at this

stage on a claim for unjust enrichment to recover the gains that Facebook realized from its

allegedly improper conduct. See Hadley v. Kellogg Sales Co., 324 F. Supp. 3d 1084, 1113 (N.D.

Cal. 2018).23 The motion to dismiss this claim is granted as to the plaintiffs who consented as

discussed in Section IV, but otherwise denied.

       Right of Publicity. California’s common law right of publicity makes unlawful the

appropriation of someone’s name or likeness without his consent when it both (1) injures that
person and (2) is used to the defendant’s advantage. See Perkins v. LinkedIn Corp., 53 F. Supp.

3d 1190, 1214 (N.D. Cal. 2014).

       Facebook’s motion to dismiss this claim is granted. The allegations about how Facebook

shared the plaintiffs’ information with third parties is categorically different from the type of

22
   The Court will likely stay, along with the other non-prioritized claims, the claims that this
ruling dismisses with leave to amend, although the Court will discuss this matter with the parties
at the next case management conference.
23
   The complaint, in articulating the unjust enrichment claim, frequently uses the term “quantum
meruit.” It appears that the complaint uses this term incorrectly; no true theory of quantum
meruit recovery has been articulated by the plaintiffs. See Maglica v. Maglica, 66 Cal. App. 4th
442, 449 (Cal. Ct. App. 1998) (describing quantum meruit as recovery of “the reasonable value
of the services rendered provided they were of direct benefit to the defendant.”).


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conduct made unlawful by this tort, such as using a plaintiff’s face or name to promote a product

or service. See Comedy III Productions., Inc. v. Gary Saderup, Inc., 25 Cal. 4th 387, 399 (2001)

(“The right of publicity, like copyright, protects a form of intellectual property that society

deems to have some social utility. Often considerable money, time and energy are needed to

develop one’s prominence in a particular field. Years of labor may be required before one’s skill,

reputation, notoriety or virtues are sufficiently developed to permit an economic return through

some medium of commercial promotion.” (internal quotations omitted)); see also Abdul-Jabbar

v. General Motors Corp., 85 F.3d 407, 415 (9th Cir. 1996); cf. Perkins v. LinkedIn Corp., 53 F.

Supp. 3d 1190, 1217 (N.D. Cal. 2014). Because the Court cannot conceive of a way that the

plaintiffs could successfully allege this claim, dismissal is without leave to amend.

       California’s Unfair Competition Law. California’s Unfair Competition Law (“UCL”)

prohibits business practices that are unlawful, unfair, or fraudulent. See Cal. Bus. & Prof. Code

§ 17200, et seq. To have standing under California law to pursue this claim (a standard that is

different from Article III standing), the plaintiffs must show that they “lost money or property”

because of Facebook’s conduct. See Cal. Bus. & Prof. Code § 17204; see also Kwikset Corp. v.

Superior Court, 51 Cal. 4th 310, 317 (2011). The plaintiffs’ UCL claim fails because they have

not adequately alleged lost money or property. As discussed in Section III, the plaintiffs’ theory

of economic loss is purely hypothetical. It’s true, as discussed in connection with the unjust
enrichment claim, that Facebook may have gained money through its sharing or use of the

plaintiffs’ information, but that’s different from saying the plaintiffs lost money. Further, the

plaintiffs here do not allege that they paid any premiums (or any money at all) to Facebook to

potentially give rise to standing under California law. Compare In re Anthem, Inc. Data Breach

Litigation, 2016 WL 3029783, at *30 (N.D. Cal. May 27, 2016). This claim is also dismissed

without leave to amend.

                                            VI. CONCLUSION

       The motion to dismiss is granted in part and denied in part. The deadline for Facebook to
file an answer to the complaint, along with all other scheduling matters, will be discussed at a


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case management conference on October 1, 2019 at 2:00 p.m. The parties should file a joint case

management statement by September 24, 2019.

       IT IS SO ORDERED.


Dated: September 9, 2019
                                            ______________________________________
                                            VINCE CHHABRIA
                                            United States District Judge




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                Appendix A




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  This agreement was written in English (US). To the extent any translated
  version of this agreement conflicts with the English version, the English
  version controls. Please note that Section 16 contains certain changes to
  the general terms for users outside the United States.

  Date of Last Revision: June 8, 2012.


  Statement of Rights and Responsibilities


  This Statement of Rights and Responsibilities ("Statement," "Terms," or
  "SRR") derives from the Facebook Principles, and is our terms of service
  that governs our relationship with users and others who interact with
  Facebook. By using or accessing Facebook, you agree to this Statement, as
  updated from time to time in accordance with Section 14 below.
  Additionally, you will find resources at the end of this document that help
  you understand how Facebook works.

     1. Privacy

         Your privacy is very important to us. We designed our Data Use
         Policy to make important disclosures about how you can use
         Facebook to share with others and how we collect and can use your
         content and information. We encourage you to read the Data Use
         Policy, and to use it to help you make informed decisions.


     2. Sharing Your Content and Information

         You own all of the content and information you post on Facebook,
         and you can control how it is shared through your privacy and
         application settings. In addition:
           1. For content that is covered by intellectual property rights, like
                photos and videos (IP content), you specifically give us the
                following permission, subject to your privacy and application
                settings: you grant us a non-exclusive, transferable, sub-
               licensable, royalty-free, worldwide license to use any IP
                content that you post on or in connection with Facebook (IP
                License). This IP License ends when you delete your IP
                content or your account unless your content has been shared
                with others, and they have not deleted it.
           2. When you delete IP content, it is deleted in a manner similar to
                emptying the recycle bin on a computer. However, you
                understand that removed content may persist in backup copies
                for a reasonable period of time (but will not be available to
                others).
           3. When you use an application, the application may ask for your
                permission to access your content and information as well as
                content and information that others have shared with you. We
                require applications to respect your privacy, and your
                agreement with that application will control how the
                application can use, store, and transfer that content and
                information. (To learn more about Platform, including how
                you can control what information other people may share with
                applications, read our Data Use Policy and Platform Page.)
           4. When you publish content or information using the Public
                setting, it means that you are allowing everyone, including
                people off of Facebook, to access and use that information,

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             and to associate it with you (i.e., your name and profile
             picture).
          5. We always appreciate your feedback or other suggestions
             about Facebook, but you understand that we may use them
             without any obligation to compensate you for them (just as
             you have no obligation to offer them).


     3. Safety

        We do our best to keep Facebook safe, but we cannot guarantee it.
        We need your help to keep Facebook safe, which includes the
        following commitments by you:
           1. You will not post unauthorized commercial communications
              (such as spam) on Facebook.
           2. You will not collect users' content or information, or otherwise
              access Facebook, using automated means (such as harvesting
              bots, robots, spiders, or scrapers) without our prior
              permission.
           3. You will not engage in unlawful multi-level marketing, such as
              a pyramid scheme, on Facebook.
           4. You will not upload viruses or other malicious code.
           5. You will not solicit login information or access an account
              belonging to someone else.
           6. You will not bully, intimidate, or harass any user.
           7. You will not post content that: is hate speech, threatening, or
              pornographic; incites violence; or contains nudity or graphic
              or gratuitous violence.
           8. You will not develop or operate a third-party application
              containing alcohol-related, dating or other mature content
              (including advertisements) without appropriate age-based
              restrictions.
           9. You will follow our Promotions Guidelines and all applicable
              laws if you publicize or offer any contest, giveaway, or
              sweepstakes (“promotion”) on Facebook.
         10. You will not use Facebook to do anything unlawful,
              misleading, malicious, or discriminatory.
         11. You will not do anything that could disable, overburden, or
              impair the proper working or appearance of Facebook, such as
              a denial of service attack or interference with page rendering
              or other Facebook functionality.
         12. You will not facilitate or encourage any violations of this
              Statement or our policies.


     4. Registration and Account Security

        Facebook users provide their real names and information, and we
        need your help to keep it that way. Here are some commitments you
        make to us relating to registering and maintaining the security of
        your account:
          1. You will not provide any false personal information on
              Facebook, or create an account for anyone other than yourself
              without permission.
          2. You will not create more than one personal account.
          3. If we disable your account, you will not create another one
              without our permission.
          4. You will not use your personal timeline for your own
              commercial gain (such as selling your status update to an
              advertiser).

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          5. You will not use Facebook if you are under 13.
          6. You will not use Facebook if you are a convicted sex offender.
          7. You will keep your contact information accurate and up-to-
             date.
          8. You will not share your password (or in the case of developers,
              your secret key), let anyone else access your account, or do
              anything else that might jeopardize the security of your
              account.
          9. You will not transfer your account (including any Page or
              application you administer) to anyone without first getting our
              written permission.
         10. If you select a username or similar identifier for your account
              or Page, we reserve the right to remove or reclaim it if we
              believe it is appropriate (such as when a trademark owner
              complains about a username that does not closely relate to a
              user's actual name).


     5. Protecting Other People's Rights

         We respect other people's rights, and expect you to do the same.
          1. You will not post content or take any action on Facebook that
              infringes or violates someone else's rights or otherwise
              violates the law.
          2. We can remove any content or information you post on
              Facebook if we believe that it violates this Statement or our
              policies.
          3. We provide you with tools to help you protect your intellectual
              property rights. To learn more, visit our How to Report
              Claims of Intellectual Property Infringement page.
          4. If we remove your content for infringing someone else's
              copyright, and you believe we removed it by mistake, we will
              provide you with an opportunity to appeal.
          5. If you repeatedly infringe other people's intellectual property
              rights, we will disable your account when appropriate.
          6. You will not use our copyrights or trademarks (including
              Facebook, the Facebook and F Logos, FB, Face, Poke, Book
              and Wall), or any confusingly similar marks, except as
              expressly permitted by our Brand Usage Guidelines or with
              our prior written permission.
          7. If you collect information from users, you will: obtain their
              consent, make it clear you (and not Facebook) are the one
              collecting their information, and post a privacy policy
              explaining what information you collect and how you will use
              it.
          8. You will not post anyone's identification documents or
              sensitive financial information on Facebook.
          9. You will not tag users or send email invitations to non-users
              without their consent. Facebook offers social reporting tools
              to enable users to provide feedback about tagging.


     6. Mobile and Other Devices

           1. We currently provide our mobile services for free, but please
               be aware that your carrier's normal rates and fees, such as text
               messaging fees, will still apply.
           2. In the event you change or deactivate your mobile telephone
               number, you will update your account information on
               Facebook within 48 hours to ensure that your messages are

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             not sent to the person who acquires your old number.
          3. You provide consent and all rights necessary to enable users to
             sync (including through an application) their devices with any
             information that is visible to them on Facebook.


     7. Payments

        If you make a payment on Facebook or use Facebook Credits, you
        agree to our Payments Terms.


     8. Special Provisions Applicable to Social Plugins

        If you include our Social Plugins, such as the Share or Like buttons
        on your website, the following additional terms apply to you:
           1. We give you permission to use Facebook's Social Plugins so
              that users can post links or content from your website on
              Facebook.
           2. You give us permission to use and allow others to use such
              links and content on Facebook.
           3. You will not place a Social Plugin on any page containing
              content that would violate this Statement if posted on
              Facebook.


     9. Special Provisions Applicable to Developers/Operators of
        Applications and Websites

        If you are a developer or operator of a Platform application or
        website, the following additional terms apply to you:
           1. You are responsible for your application and its content and all
              uses you make of Platform. This includes ensuring your
              application or use of Platform meets our Facebook Platform
              Policies and our Advertising Guidelines.
           2. Your access to and use of data you receive from Facebook,
              will be limited as follows:
                 1. You will only request data you need to operate your
                     application.
                 2. You will have a privacy policy that tells users what user
                     data you are going to use and how you will use, display,
                     share, or transfer that data and you will include your
                     privacy policy URL in the Developer Application.
                 3. You will not use, display, share, or transfer a user’s data
                     in a manner inconsistent with your privacy policy.
                 4. You will delete all data you receive from us concerning
                     a user if the user asks you to do so, and will provide a
                     mechanism for users to make such a request.
                 5. You will not include data you receive from us
                     concerning a user in any advertising creative.
                 6. You will not directly or indirectly transfer any data you
                     receive from us to (or use such data in connection with)
                     any ad network, ad exchange, data broker, or other
                     advertising related toolset, even if a user consents to
                     that transfer or use.
                 7. You will not sell user data. If you are acquired by or
                     merge with a third party, you can continue to use user
                     data within your application, but you cannot transfer
                     user data outside of your application.
                 8. We can require you to delete user data if you use it in a

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                    way that we determine is inconsistent with users’
                    expectations.
                9. We can limit your access to data.
               10. You will comply with all other restrictions contained in
                    our Facebook Platform Policies.
          3. You will not give us information that you independently
             collect from a user or a user's content without that user's
             consent.
          4. You will make it easy for users to remove or disconnect from
             your application.
          5. You will make it easy for users to contact you. We can also
             share your email address with users and others claiming that
             you have infringed or otherwise violated their rights.
          6. You will provide customer support for your application.
          7. You will not show third party ads or web search boxes on
             www.facebook.com.
          8. We give you all rights necessary to use the code, APIs, data,
             and tools you receive from us.
          9. You will not sell, transfer, or sublicense our code, APIs, or
             tools to anyone.
         10. You will not misrepresent your relationship with Facebook to
             others.
         11. You may use the logos we make available to developers or
             issue a press release or other public statement so long as you
             follow our Facebook Platform Policies.
         12. We can issue a press release describing our relationship with
             you.
         13. You will comply with all applicable laws. In particular you
             will (if applicable):
                1. have a policy for removing infringing content and
                    terminating repeat infringers that complies with the
                    Digital Millennium Copyright Act.
                2. comply with the Video Privacy Protection Act (VPPA),
                    and obtain any opt-in consent necessary from users so
                    that user data subject to the VPPA may be shared on
                    Facebook. You represent that any disclosure to us will
                    not be incidental to the ordinary course of your
                    business.
         14. We do not guarantee that Platform will always be free.
         15. You give us all rights necessary to enable your application to
             work with Facebook, including the right to incorporate
             content and information you provide to us into streams,
             timelines, and user action stories.
         16. You give us the right to link to or frame your application, and
             place content, including ads, around your application.
         17. We can analyze your application, content, and data for any
             purpose, including commercial (such as for targeting the
             delivery of advertisements and indexing content for search).
         18. To ensure your application is safe for users, we can audit it.
         19. We can create applications that offer similar features and
             services to, or otherwise compete with, your application.


    10. About Advertisements and Other Commercial Content Served or
        Enhanced by Facebook

        Our goal is to deliver ads and commercial content that are valuable
        to our users and advertisers. In order to help us do that, you agree to
        the following:
           1. You can use your privacy settings to limit how your name and

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             profile picture may be associated with commercial, sponsored,
             or related content (such as a brand you like) served or
             enhanced by us. You give us permission to use your name and
             profile picture in connection with that content, subject to the
             limits you place.
          2. We do not give your content or information to advertisers
             without your consent.
          3. You understand that we may not always identify paid services
             and communications as such.


    11. Special Provisions Applicable to Advertisers

        You can target your desired audience by buying ads on Facebook or
        our publisher network. The following additional terms apply to you
        if you place an order through our online advertising portal (Order):
           1. When you place an Order, you will tell us the type of
               advertising you want to buy, the amount you want to spend,
               and your bid. If we accept your Order, we will deliver your
               ads as inventory becomes available. When serving your ad,
               we do our best to deliver the ads to the audience you specify,
               although we cannot guarantee in every instance that your ad
               will reach its intended target.
           2. In instances where we believe doing so will enhance the
               effectiveness of your advertising campaign, we may broaden
               the targeting criteria you specify.
           3. You will pay for your Orders in accordance with our Payments
               Terms. The amount you owe will be calculated based on our
               tracking mechanisms.
           4. Your ads will comply with our Advertising Guidelines.
           5. We will determine the size, placement, and positioning of your
               ads.
           6. We do not guarantee the activity that your ads will receive,
               such as the number of clicks your ads will get.
           7. We cannot control how clicks are generated on your ads. We
               have systems that attempt to detect and filter certain click
               activity, but we are not responsible for click fraud,
               technological issues, or other potentially invalid click activity
               that may affect the cost of running ads.
           8. You can cancel your Order at any time through our online
               portal, but it may take up to 24 hours before the ad stops
               running. You are responsible for paying for all ads that run.
           9. Our license to run your ad will end when we have completed
               your Order. You understand, however, that if users have
               interacted with your ad, your ad may remain until the users
               delete it.
          10. We can use your ads and related content and information for
               marketing or promotional purposes.
          11. You will not issue any press release or make public statements
               about your relationship with Facebook without our prior
               written permission.
          12. We may reject or remove any ad for any reason.
          13. If you are placing ads on someone else's behalf, you must have
               permission to place those ads, including the following:
                  1. You warrant that you have the legal authority to bind the
                      advertiser to this Statement.
                  2. You agree that if the advertiser you represent violates
                      this Statement, we may hold you responsible for that
                      violation.


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   12. Special Provisions Applicable to Pages

       If you create or administer a Page on Facebook, you agree to our
       Pages Terms.


   13. Special Provisions Applicable to Software

         1. If you download our software, such as a stand-alone software
             product or a browser plugin, you agree that from time to time,
             the software may download upgrades, updates and additional
             features from us in order to improve, enhance and further
             develop the software.
         2. You will not modify, create derivative works of, decompile or
             otherwise attempt to extract source code from us, unless you
             are expressly permitted to do so under an open source license
             or we give you express written permission.


   14. Amendments

         1. We can change this Statement if we provide you notice (by
             posting the change on the Facebook Site Governance Page)
             and an opportunity to comment. To get notice of any future
             changes to this Statement, visit our Facebook Site Governance
             Page and "like" the Page.
         2. For changes to sections 7, 8, 9, and 11 (sections relating to
             payments, application developers, website operators, and
             advertisers), we will give you a minimum of three days notice.
             For all other changes we will give you a minimum of seven
             days notice. Comments to proposed changes will be made on
             the Facebook Site Governance Page.
         3. If more than 7,000 users post a substantive comment on a
             particular proposed change, we will also give you the
             opportunity to participate in a vote in which you will be
             provided alternatives. The vote shall be binding on us if more
             than 30% of all active registered users as of the date of the
             notice vote.
         4. If we make changes to policies referenced in or incorporated
             by this Statement, we may provide notice on the Site
             Governance Page.
         5. We can make changes for legal or administrative reasons, or to
             correct an inaccurate statement, upon notice without
             opportunity to comment.
         6. Your continued use of Facebook following changes to our
             terms constitutes your acceptance of our amended terms.


   15. Termination

       If you violate the letter or spirit of this Statement, or otherwise
       create risk or possible legal exposure for us, we can stop providing
       all or part of Facebook to you. We will notify you by email or at the
       next time you attempt to access your account. You may also delete
       your account or disable your application at any time. In all such
       cases, this Statement shall terminate, but the following provisions
       will still apply: 2.2, 2.4, 3-5, 8.2, 9.1-9.3, 9.9, 9.10, 9.13, 9.15, 9.18,
       10.3, 11.2, 11.5, 11.6, 11.9, 11.12, 11.13, and 15-19.


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   16. Disputes

         1. You will resolve any claim, cause of action or dispute (claim)
             you have with us arising out of or relating to this Statement or
             Facebook exclusively in a state or federal court located in
             Santa Clara County. The laws of the State of California will
             govern this Statement, as well as any claim that might arise
             between you and us, without regard to conflict of law
             provisions. You agree to submit to the personal jurisdiction of
             the courts located in Santa Clara County, California for the
             purpose of litigating all such claims.
         2. If anyone brings a claim against us related to your actions,
             content or information on Facebook, you will indemnify and
             hold us harmless from and against all damages, losses, and
             expenses of any kind (including reasonable legal fees and
             costs) related to such claim. Although we provide rules for
             user conduct, we do not control or direct users' actions on
             Facebook and are not responsible for the content or
             information users transmit or share on Facebook. We are not
             responsible for any offensive, inappropriate, obscene,
             unlawful or otherwise objectionable content or information
             you may encounter on Facebook. We are not responsible for
             the conduct, whether online or offline, or any user of
             Facebook.
         3. WE TRY TO KEEP FACEBOOK UP, BUG-FREE, AND
             SAFE, BUT YOU USE IT AT YOUR OWN RISK. WE ARE
             PROVIDING FACEBOOK AS IS WITHOUT ANY
             EXPRESS OR IMPLIED WARRANTIES INCLUDING,
             BUT NOT LIMITED TO, IMPLIED WARRANTIES OF
             MERCHANTABILITY, FITNESS FOR A PARTICULAR
             PURPOSE, AND NON-INFRINGEMENT. WE DO NOT
             GUARANTEE THAT FACEBOOK WILL ALWAYS BE
             SAFE, SECURE OR ERROR-FREE OR THAT FACEBOOK
             WILL ALWAYS FUNCTION WITHOUT DISRUPTIONS,
             DELAYS OR IMPERFECTIONS. FACEBOOK IS NOT
             RESPONSIBLE FOR THE ACTIONS, CONTENT,
             INFORMATION, OR DATA OF THIRD PARTIES, AND
             YOU RELEASE US, OUR DIRECTORS, OFFICERS,
             EMPLOYEES, AND AGENTS FROM ANY CLAIMS AND
             DAMAGES, KNOWN AND UNKNOWN, ARISING OUT
             OF OR IN ANY WAY CONNECTED WITH ANY CLAIM
             YOU HAVE AGAINST ANY SUCH THIRD PARTIES. IF
             YOU ARE A CALIFORNIA RESIDENT, YOU WAIVE
             CALIFORNIA CIVIL CODE §1542, WHICH SAYS: A
             GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
             WHICH THE CREDITOR DOES NOT KNOW OR
             SUSPECT TO EXIST IN HIS FAVOR AT THE TIME OF
             EXECUTING THE RELEASE, WHICH IF KNOWN BY
             HIM MUST HAVE MATERIALLY AFFECTED HIS
             SETTLEMENT WITH THE DEBTOR. WE WILL NOT BE
             LIABLE TO YOU FOR ANY LOST PROFITS OR OTHER
             CONSEQUENTIAL, SPECIAL, INDIRECT, OR
             INCIDENTAL DAMAGES ARISING OUT OF OR IN
             CONNECTION WITH THIS STATEMENT OR
             FACEBOOK, EVEN IF WE HAVE BEEN ADVISED OF
             THE POSSIBILITY OF SUCH DAMAGES. OUR
             AGGREGATE LIABILITY ARISING OUT OF THIS
             STATEMENT OR FACEBOOK WILL NOT EXCEED THE
             GREATER OF ONE HUNDRED DOLLARS ($100) OR
             THE AMOUNT YOU HAVE PAID US IN THE PAST

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            TWELVE MONTHS. APPLICABLE LAW MAY NOT
            ALLOW THE LIMITATION OR EXCLUSION OF
            LIABILITY OR INCIDENTAL OR CONSEQUENTIAL
            DAMAGES, SO THE ABOVE LIMITATION OR
            EXCLUSION MAY NOT APPLY TO YOU. IN SUCH
            CASES, FACEBOOK'S LIABILITY WILL BE LIMITED
            TO THE FULLEST EXTENT PERMITTED BY
            APPLICABLE LAW.


   17. Special Provisions Applicable to Users Outside the United States

       We strive to create a global community with consistent standards for
       everyone, but we also strive to respect local laws. The following
       provisions apply to users and non-users who interact with Facebook
       outside the United States:
         1. You consent to having your personal data transferred to and
             processed in the United States.
         2. If you are located in a country embargoed by the United States,
             or are on the U.S. Treasury Department's list of Specially
             Designated Nationals you will not engage in commercial
             activities on Facebook (such as advertising or payments) or
             operate a Platform application or website.
         3. Certain specific terms that apply only for German users are
             available here.

   18. Definitions

          1. By "Facebook" we mean the features and services we make
             available, including through (a) our website at
             www.facebook.com and any other Facebook branded or co-
             branded websites (including sub-domains, international
              versions, widgets, and mobile versions); (b) our Platform; (c)
              social plugins such as the Like button, the Share button and
              other similar offerings and (d) other media, software (such as
              a toolbar), devices, or networks now existing or later
              developed.
          2. By "Platform" we mean a set of APIs and services (such as
              content) that enable others, including application developers
              and website operators, to retrieve data from Facebook or
              provide data to us.
          3. By "information" we mean facts and other information about
              you, including actions taken by users and non-users who
              interact with Facebook.
          4. By "content" we mean anything you or other users post on
              Facebook that would not be included in the definition of
              information.
          5. By "data" or "user data" or "user's data" we mean any data,
              including a user's content or information that you or third
              parties can retrieve from Facebook or provide to Facebook
              through Platform.
          6. By "post" we mean post on Facebook or otherwise make
              available by using Facebook.
          7. By "use" we mean use, copy, publicly perform or display,
              distribute, modify, translate, and create derivative works of.
          8. By "active registered user" we mean a user who has logged
              into Facebook at least once in the previous 30 days.
          9. By "application" we mean any application or website that uses
              or accesses Platform, as well as anything else that receives or
              has received data from us. If you no longer access Platform

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            but have not deleted all data from us, the term application will
            apply until you delete the data.


    19. Other

           1. If you are a resident of or have your principal place of business
               in the US or Canada, this Statement is an agreement between
               you and Facebook, Inc. Otherwise, this Statement is an
               agreement between you and Facebook Ireland Limited.
               References to “us,” “we,” and “our” mean either Facebook,
               Inc. or Facebook Ireland Limited, as appropriate.
           2. This Statement makes up the entire agreement between the
               parties regarding Facebook, and supersedes any prior
               agreements.
           3. If any portion of this Statement is found to be unenforceable,
               the remaining portion will remain in full force and effect.
           4. If we fail to enforce any of this Statement, it will not be
               considered a waiver.
           5. Any amendment to or waiver of this Statement must be made
               in writing and signed by us.
           6. You will not transfer any of your rights or obligations under
               this Statement to anyone else without our consent.
           7. All of our rights and obligations under this Statement are
               freely assignable by us in connection with a merger,
               acquisition, or sale of assets, or by operation of law or
               otherwise.
           8. Nothing in this Statement shall prevent us from complying
               with the law.
           9. This Statement does not confer any third party beneficiary
               rights.
          10. We reserve all rights not expressly granted to you.
          11. You will comply with all applicable laws when using or
               accessing Facebook.


   You may also want to review the following documents, which provide
   additional information about your use of Facebook:

        Data Use Policy: The Data Use Policy contains information to help
        you understand how we collect and use information.
        Payment Terms: These additional terms apply to all payments made
        on or through Facebook.
        Platform Page: This page helps you better understand what happens
        when you add a third-party application or use Facebook Connect,
        including how they may access and use your data.
        Facebook Platform Policies: These guidelines outline the policies
        that apply to applications, including Connect sites.
        Advertising Guidelines: These guidelines outline the policies that
        apply to advertisements placed on Facebook.
        Promotions Guidelines: These guidelines outline the policies that
        apply if you offer contests, sweepstakes, and other types of
        promotions on Facebook.
        Brand Permissions Center: These guidelines outline the policies that
        apply to use of Facebook trademarks, logos and screenshots.
        How to Report Claims of Intellectual Property Infringement
        Pages Terms: These guidelines apply to your use of Facebook Pages.
        Community Standards: These guidelines outline our expectations
        regarding the content you post to Facebook and your activity on
        Facebook.
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  To access the Statement of Rights and Responsibilities in several different
  languages, change the language setting for your Facebook session by
  clicking on the language link in the left corner of most pages. If the
  Statement is not available in the language you select, we will default to the
  English version.




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                 Appendix B




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Data Use Policy

Date of Last Revision: June 8, 2012


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Cookies, pixels and other similar technologies
Some other things you need to know

I. Information we receive and how it is used

Information we receive about you

We receive a number of different types of information about you, including:

Your information
Your information is the information that's required when you sign up for the site, as well as the information you choose
to share.

      Registration information: When you sign up for Facebook, you are required to provide your name, email
      address, birthday, and gender.

      Information you choose to share: Your information also includes the information you choose to share on
       Facebook, such as when you post a status update, upload a photo, or comment on a friend's story.

It also includes the information you choose to share when you take an action, such as when you add a friend, like a Page
 or a website, add a place to your story, find friends using our contact importers, or indicate you are in a relationship.

Your name, profile pictures, cover photos, gender, networks, username and User ID are treated just like information
you choose to make public.
Your birthday allows us to do things like show you age-appropriate content and advertisements.

Information others share about you
 We receive information about you from your friends and others, such as when they upload your contact information,
 post a photo of you, tag you in a photo or status update, or at a location, or add you to a group.

When people use Facebook, they may store and share information about you and others that they have, such as when
they upload and manage their invites and contacts.

Other information we receive about you
We also receive other types of information about you:

      We receive data about you whenever you interact with Facebook, such as when you look at another person's
      timeline, send or receive a message, search for a friend or a Page, click on, view or otherwise interact with things,
      use a Facebook mobile app, or purchase Facebook Credits or make other purchases through Facebook.
      When you post things like photos or videos on Facebook, we may receive additional related data (or metadata),
      such as the time, date, and place you took the photo or video.
      We receive data from the computer, mobile phone or other device you use to access Facebook, including when
      multiple users log in from the same device. This may include your IP address and other information about things
      like your internet service, location, the type (including identifiers) of browser you use, or the pages you visit. For
      example, we may get your GPS or other location information so we can tell you if any of your friends are nearby.
      We receive data whenever you visit a game, application, or website that uses Facebook Platform or visit a site
      with a Facebook feature (such as a social plugin), sometimes through cookies. This may include the date and time
      you visit the site; the web address, or URL, you're on; technical information about the IP address, browser and
      the operating system you use; and, if you are logged in to Facebook, your User ID.
      Sometimes we get data from our advertising partners, customers and other third parties that helps us (or them)
      deliver ads, understand online activity, and generally make Facebook better. For example, an advertiser may tell
      us information about you (like how you responded to an ad on Facebook or on another site) in order to measure
      the effectiveness of - and improve the quality of - ads.


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We also put together data from the information we already have about you and your friends. For example, we may put
together data about you to determine which friends we should show you in your News Feed or suggest you tag in the
photos you post. We may put together your current city with GPS and other location information we have about you to,
for example, tell you and your friends about people or events nearby, or offer deals to you that you might be interested
in. We may also put together data about you to serve you ads that might be more relevant to you.

When we get your GPS location, we put it together with other location information we have about you (like your
current city). But we only keep it until it is no longer useful to provide you services, like keeping your last GPS
coordinates to send you relevant notifications.
We only provide data to our advertising partners or customers after we have removed your name or any other
personally identifying information from it, or have combined it with other people's data in a way that it is no longer
associated with you.

Public information

When we use the phrase "public information" (which we sometimes refer to as "Everyone information"), we mean the
information you choose to make public, as well as information that is always publicly available.

Information you choose to make public
 Choosing to make your information public is exactly what it sounds like: anyone, including people off of Facebook,
 will be able to see it.

Choosing to make your information public also means that this information:

      can be associated with you (i.e., your name, profile pictures, cover photos, timeline, User ID, username, etc.) even
       off Facebook;
      can show up when someone does a search on Facebook or on a public search engine;
      will be accessible to the Facebook-integrated games, applications, and websites you and your friends use; and
      will be accessible to anyone who uses our APIs such as our Graph API.

Sometimes you will not be able to select an audience when you post something (like when you write on a Page's wall or
comment on a news article that uses our comments plugin). This is because some types of stories are always public
stories. As a general rule, you should assume that if you do not see a sharing icon, the information will be publicly
available.
When others share information about you, they can also choose to make it public.

Information that is always publicly available
 The types of information listed below are always publicly available, and are treated just like information you decided to
 make public.

      Name: This helps your friends and family find you. If you are uncomfortable sharing your real name, you can
      always delete your account.

      Profile Pictures and Cover Photos: These help your friends and family recognize you. If you are uncomfortable
      making any of these photos public, you can always delete it. Unless you delete them, when you add a new profile
      picture or cover photo, the previous photo will remain public in your profile picture or cover photo album.

      Network: This helps you see whom you will be sharing information with before you choose "Friends and
      Networks" as a custom audience. If you are uncomfortable making your network public, you can leave the
      network.

      Gender: This allows us to refer to you properly.

      Username and User ID: These allow you to give out a custom link to your timeline or Page, receive email at
      your Facebook email address, and help make Facebook Platform possible.
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Usernames and User IDs

A Username (or Facebook URL) is a custom link to your timeline that you can give out to people or post on external
websites. Usernames appear in the URL on your timeline. We also use your User ID to identify your Facebook account.

If someone has your Username or User ID, they can use it to access information about you through the facebook.com
 website. For example, if someone has your Username, they can type facebook.com/Username into their browser and
 see your public information as well as anything else you've let them see. Similarly, someone with your Username or
 User ID can access information about you through our APIs, such as our Graph API. Specifically, they can access your
 public information, along with your age range, language and country.

If you do not want your information to be accessible to Platform applications, you can turn off all Platform applications
 from your Privacy Settings. If you turn off Platform you will no longer be able to use any games or other applications
 until you turn Platform back on. For more information about the information that apps receive when you visit them, see
 Other websites and applications.

If you want to see information available about you through our Graph API, just type
https://graph.facebook.com/[User ID or Username]?metadata=1 into your browser.
Your Facebook email address includes your public username like so: username@facebook.com. You can control who
can start a message thread with you using your “How You Connect” settings. If they include others on that message, the
others can reply too.

How we use the information we receive

We use the information we receive about you in connection with the services and features we provide to you and other
users like your friends, our partners, the advertisers that purchase ads on the site, and the developers that build the
games, applications, and websites you use. For example, we may use the information we receive about you:

      as part of our efforts to keep Facebook products, services and integrations safe and secure;
      to protect Facebook's or others' rights or property;
      to provide you with location features and services, like telling you and your friends when something is going on
       nearby;
      to measure or understand the effectiveness of ads you and others see, including to deliver relevant ads to you;
      to make suggestions to you and other users on Facebook, such as: suggesting that your friend use our contact
       importer because you found friends using it, suggesting that another user add you as a friend because the user
       imported the same email address as you did, or suggesting that your friend tag you in a picture they have
       uploaded with you in it; and
      for internal operations, including troubleshooting, data analysis, testing, research and service improvement.

Granting us this permission not only allows us to provide Facebook as it exists today, but it also allows us to provide
you with innovative features and services we develop in the future that use the information we receive about you in new
ways.

While you are allowing us to use the information we receive about you, you always own all of your information. Your
trust is important to us, which is why we don't share information we receive about you with others unless we have:

      received your permission;
      given you notice, such as by telling you about it in this policy; or
      removed your name or any other personally identifying information from it.

Of course, for information others share about you, they control how it is shared.

We store data for as long as it is necessary to provide products and services to you and others, including those described
above. Typically, information associated with your account will be kept until your account is deleted. For certain
categories of data, we may also tell you about specific data retention practices.
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We are able to suggest that your friend tag you in a picture by scanning and comparing your friend's pictures to
information we've put together from the other photos you've been tagged in. This allows us to make these suggestions.
You can control whether we suggest that another user tag you in a photo using the “How Tags work” settings. Learn
more at: https://www.facebook.com/help/tag-suggestions

Deleting and deactivating your account

If you want to stop using your account, you can either deactivate or delete it.

Deactivate
Deactivating your account puts your account on hold. Other users will no longer see your timeline, but we do not delete
any of your information. Deactivating an account is the same as you telling us not to delete any information because
you might want to reactivate your account at some point in the future. You can deactivate your account at:
https://www.facebook.com/editaccount.php
Your friends will still see you listed in their list of friends while your account is deactivated.

Deletion
When you delete an account, it is permanently deleted from Facebook. It typically takes about one month to delete an
account, but some information may remain in backup copies and logs for up to 90 days. You should only delete your
account if you are sure you never want to reactivate it. You can delete your account at:
https://www.facebook.com/help/contact.php?show_form=delete_account
Learn more at: https://www.facebook.com/help/?faq=356107851084108

Certain information is needed to provide you with services, so we only delete this information after you delete your
account. Some of the things you do on Facebook aren’t stored in your account, like posting to a group or sending
someone a message (where your friend may still have a message you sent, even after you delete your account). That
information remains after you delete your account.

II. Sharing and finding you on Facebook

Control each time you post

Whenever you post content (like a status update, photo or check-in), you can select a specific audience, or even
customize your audience. To do this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide your story from specific
people.

If you tag someone, that person and their friends can see your story no matter what audience you selected. The same is
 true when you approve a tag someone else adds to your story.

Always think before you post. Just like anything else you post on the web or send in an email, information you share on
Facebook can be copied or re-shared by anyone who can see it.

Although you choose with whom you share, there may be ways for others to determine information about you. For
example, if you hide your birthday so no one can see it on your timeline, but friends post “happy birthday!” on your
timeline, people may determine your birthday.
When you comment on or "like" someone else's story, or write on their timeline, that person gets to select the audience.
For example, if a friend posts a Public story and you comment on it, your comment will be Public. Often, you can see
the audience someone selected for their story before you post a comment; however, the person who posted the story
may later change their audience.
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You can control who can see the Facebook Pages you've "liked" by visiting your timeline, clicking on the Likes box on
your timeline, and then clicking "Edit."
Sometimes you will not see a sharing icon when you post something (like when you write on a Page's wall or comment
on a news article that uses our comments plugin). This is because some types of stories are always public stories. As a
general rule, you should assume that if you do not see a sharing icon, the information will be publicly available.

Control over your timeline

Whenever you add things to your timeline you can select a specific audience, or even customize your audience. To do
this, simply click on the sharing icon and choose who can see it.

Choose this icon if you want to make something Public. Choosing to make something public is exactly what it sounds
like. It means that anyone, including people off of Facebook, will be able to see or access it.
Choose this icon if you want to share with your Facebook Friends.
Choose this icon if you want to Customize your audience. You can also use this to hide the item on your timeline from
specific people.

When you select an audience for your friend list, you are only controlling who can see the entire list of your friends on
your timeline. We call this a timeline visibility control. This is because your friend list is always available to the games,
applications and websites you use, and your friendships may be visible elsewhere (such as on your friends' timelines or
in searches). For example, if you select "Only Me" as the audience for your friend list, but your friend sets her friend
list to "Public," anyone will be able to see your connection on your friend's timeline.

Similarly, if you choose to hide your gender, it only hides it on your timeline. This is because we, just like the
applications you and your friends use, need to use your gender to refer to you properly on the site.

When someone tags you in a story (such as a photo, status update or check-in), you can choose whether you want that
story to appear on your timeline. You can either approve each story individually or approve all stories by your friends.
If you approve a story and later change your mind, you can remove it from your timeline.

People on Facebook may be able to see mutual friends, even if they cannot see your entire list of friends.
Some things (like your name, profile pictures and cover photos) do not have sharing icons because they are always
publicly available. As a general rule, you should assume that if you do not see a sharing icon, the information will be
publicly available.

Finding you on Facebook

To make it easier for your friends to find you, we allow anyone with your contact information (such as email address or
telephone number) to find you through the Facebook search bar at the top of most pages, as well as other tools we
provide, such as contact importers - even if you have not shared your contact information with them on Facebook.

You can choose who can look up your timeline using the email address or telephone number you added to your timeline
through your privacy settings. But remember, if you choose Friends, only your current Facebook friends will be able to
find you this way.

Your “How You Connect” settings do not control whether people can find you or a link to your timeline when they
search for content they have permission to see, like a photo or other story you’ve been tagged in.

Access on phones and other devices

Once you share information with your friends and others, they may be able to sync it with or access it via their mobile
phones and other devices. For example, if you share a photo on Facebook, someone viewing that photo could save it
using Facebook tools or by other methods offered by their device or browser. Similarly, if you share your contact
information with someone or invite someone to an event, they may be able to use Facebook or third party applications
or devices to sync that information. Or, if one of your friends has a Facebook application on one of their devices, your
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information (such as the things you post or photos you share) may be stored on or accessed by their device.

You should only share information with people you trust because they will be able to save it or re-share it with others,
including when they sync the information to a device.

Activity log

Your activity log is a place where you can go to view most of your information on Facebook, including things you’ve
hidden from your timeline. You can use this log to manage your content. For example, you can do things like delete
stories, change the audience of your stories or stop an application from publishing to your timeline on your behalf.

When you hide something from your timeline, you are not deleting it. This means that the story may be visible
elsewhere, like in your friends’ News Feed. If you want to delete a story you posted, choose the delete option.

What your friends share about you

Links and Tags
Anyone can add a link to a story. Links are references to something on the Internet; anything from a website to a Page
or timeline on Facebook. For example, if you are writing a story, you might include a link to a blog you are referencing
or a link to the blogger’s Facebook timeline. If someone clicks on a link to another person’s timeline, they’ll only see
the things that they are allowed to see.

A tag is a special type of link to someone’s timeline that suggests that the tagged person add your story to their timeline.
In cases where the tagged person isn’t included in the audience of the story, it will add them so they can see it. Anyone
can tag you in anything. Once you are tagged, you and your friends will be able to see it (such as in News Feed or in
search).

You can choose whether a story you've been tagged in appears on your timeline. You can either approve each story
individually or approve all stories by your friends. If you approve a story and later change your mind, you can always
remove it from your timeline.

If you do not want someone to tag you, we encourage you to reach out to them and give them that feedback. If that does
 not work, you can block them. This will prevent them from tagging you going forward.

If you are tagged in a private space (such as a message or a group) only the people who can see the private space can
see the tag. Similarly, it you are tagged in a comment, only the people who can see the comment can see the tag.

Groups
Once you are in a Group, anyone in that Group can add you to a subgroup. When someone adds you to a Group, you
will be listed as “invited” until you visit the Group. You can always leave a Group, which will prevent others from
adding you to it again.

About Pages

Facebook Pages are public pages. Companies use Pages to share information about their products. Celebrities use Pages
to talk about their latest projects. And communities use pages to discuss topics of interest, everything from baseball to
the opera.

Because Pages are public, information you share with a Page is public information. This means, for example, that if you
post a comment on a Page, that comment may be used by the Page owner off Facebook, and anyone can see it.

When you "like" a Page, you create a connection to that Page. The connection is added to your timeline and your friends
may see it in their News Feeds. You may be contacted by or receive updates from the Page, such as in your News Feed
and your messages. You can remove the Pages you've "liked" through your timeline or on the Page.


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Some Pages contain content that comes directly from the Page owner. Page owners can do this through online plugins,
such as an iframe, and it works just like the games and other applications you use through Facebook. Because this
content comes directly from the Page owner, that Page may be able to collect information about you, just like any
website.

Page administrators may have access to insights data, which will tell them generally about the people that visit their
Page (as opposed to information about specific people). They may also know when you’ve made a connection to their
Page because you’ve liked their Page or posted a comment.

III. Other websites and applications

About Facebook Platform

Facebook Platform (or simply Platform) refers to the way we help you share your information with the games,
applications, and websites you and your friends use. Facebook Platform also lets you bring your friends with you, so
you can connect with them off of Facebook. In these two ways, Facebook Platform helps you make your experiences
on the web more personalized and social.

Remember that these games, applications and websites are created and maintained by other businesses and developers
who are not part of Facebook, so you should always make sure to read their terms of service and privacy policies.

Controlling what information you share with applications

When you connect with a game, application or website - such as by going to a game, logging in to a website using your
Facebook account, or adding an app to your timeline - we give the game, application, or website (sometimes referred to
as just "Applications" or "Apps") your basic info, which includes your User ID, as well your friends' User IDs (or your
friend list) and your public information.

Your friend list helps the application make your experience more social because it lets you find your friends on that
application. Your User ID helps the application personalize your experience because it can connect your account on
that application with your Facebook account, and it can access your basic info, which includes your public information
and friend list. This includes the information you choose to make public, as well as information that is always publicly
available. If the application needs additional information, such as your stories, photos or likes, it will have to ask you
for specific permission.

The “Apps you use” setting lets you control the applications you use. You can see the permissions you have given these
applications, the last time an application accessed your information, and the audience on Facebook for your timeline
stories and activity the application posts on your behalf. You can also remove applications you no longer want, or turn
off all Platform applications. When you turn all Platform applications off, your User ID is no longer given to
applications, even when your friends use those applications. But you will no longer be able to use any games,
applications or websites through Facebook.

 When you first visit an app, Facebook lets the app know your language, your country, and whether you are under 18,
 between 18-20, or 21 and over. Age range lets apps provide you with age-appropriate content. If you install the app, it
 can access, store and update the information you’ve shared. Apps you’ve installed can update their records of your
 basic info, age range, language and country. If you haven’t used an app in a while, it won’t be able to continue to
 update the additional information you’ve given them permission to access. Learn more at:
 https://www.facebook.com/help/how-apps-work
 Sometimes a game console, mobile phone, or other device might ask for permission to share specific information with
 the games and applications you use on that device. If you say okay, those applications will not be able to access any
 other information about you without asking specific permission from you or your friends.
 Sites and apps that use Instant Personalization receive your User ID and friend list when you visit them.
 You always can remove apps you’ve installed by using your app settings at: https://www.facebook.com/settings/?
tab=applications. But remember, apps may still be able to access your information when the people you share with use
 them. And, if you’ve removed an application and want them to delete the information you’ve already shared with them,
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you should contact the application and ask them to delete it. Visit the application’s page on Facebook or their own
website to learn more about the app.

Controlling what is shared when the people you share with use applications

Just like when you share information by email or elsewhere on the web, information you share on Facebook can be re-
shared. This means that if you share something on Facebook, anyone who can see it can share it with others, including
 the games, applications, and websites they use.

Your friends and the other people you share information with often want to share your information with applications to
make their experiences on those applications more personalized and social. For example, one of your friends might
want to use a music application that allows them to see what their friends are listening to. To get the full benefit of that
application, your friend would want to give the application her friend list – which includes your User ID – so the
application knows which of her friends is also using it. Your friend might also want to share the music you “like” on
Facebook. If you have made that information public, then the application can access it just like anyone else. But if
you’ve shared your likes with just your friends, the application could ask your friend for permission to share them.

You can control most of the information other people can share with applications they use from the “Ads, Apps and
Websites” settings page. But these controls do not let you limit access to your public information and friend list.

If you want to completely block applications from getting your information when your friends and others use them, you
 will need to turn off all Platform applications. This means that you will no longer be able to use any third-party
 Facebook-integrated games, applications or websites.

If an application asks permission from someone else to access your information, the application will be allowed to use
that information only in connection with the person that gave the permission and no one else.

Logging in to another site using Facebook

Facebook Platform lets you log into other applications and websites using your Facebook account. When you log in
using Facebook, we give the site your User ID (just like when you connect with any other application), but we do not
share your email address or password with that website through this process.

If you already have an account on that website, the site may also be able to connect that account with your Facebook
 account. Sometimes it does this using what is called an "email hash", which is similar to searching for someone on
 Facebook using an email address. Only the email addresses in this case are hashed so no email addresses are actually
 shared between Facebook and the website.

How it works
The website sends over a hashed version of your email address, and we match it with a database of email addresses that
we have also hashed. If there is a match, then we tell the website the User ID associated with the email address. This
way, when you log into the website using Facebook, the website can link your Facebook account to your account on
that website.

About social plugins

Social plugins are buttons, boxes, and stories (such as the Like button) that other websites can use to present Facebook
content to you and create more social and personal experiences for you. While you view these buttons, boxes, and
stories on other sites, the content comes directly from Facebook.

Sometimes plugins act just like applications. You can spot one of these plugins because it will ask you for permission to
access your information or to publish information back to Facebook. For example, if you use a registration plugin on a
website, the plugin will ask your permission to share your basic info with the website to make it easier for you to
register for the website. Similarly, if you use an Add To Timeline plugin, the plugin will ask your permission to publish
stories about your activities on that website to Facebook.
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If you make something public using a plugin, such as posting a public comment on a newspaper's website, then that
 website can access your comment (along with your User ID) just like everyone else.

If you post something using a social plugin and you do not see a sharing icon, you should assume that story is Public.
For example, if you post a comment through a Facebook comment plugin on a site, your story is Public and everyone,
including the website, can see your story.
Websites that use social plugins can sometimes tell that you have engaged with the social plugin. For example, they
may know that you clicked on a Like button in a social plugin.
We receive data when you visit a site with a social plugin. We keep this data for a maximum of 90 days. After that, we
remove your name or any other personally identifying information from the data, or combine it with other people's data
in a way that it is no longer associated with you. Learn more at: https://www.facebook.com/help/social-plugins

About instant personalization

Instant personalization is a way for Facebook to help partners (such as Bing and Rotten Tomatoes) on and off Facebook
 create a more personalized and social experience for logged in users than a social plugin can offer. When you visit a
 site or app using instant personalization, it will know some information about you and your friends the moment you
 arrive. This is because sites and apps using instant personalization can access your User ID, your friend list, and your
 public information.

The first time you visit a site or app using instant personalization, you will see a notification letting you know that the
site or app has partnered with Facebook to provide a personalized experience.

The notification will give you the ability to disable or turn off instant personalization for that site or app. If you do that,
that site or app is required to delete all of the information about you it received from Facebook as part of the instant
personalization program. In addition, we will prevent that site from accessing your information in the future, even when
your friends use that site.

If you decide that you do not want to experience instant personalization for all partner sites and apps, you can disable
 instant personalization from the “Ads, Apps and Websites” settings page.

If you turn off instant personalization, partner third party sites and apps will not be able to access your public
 information, even when your friends visit those sites.

If you turn off an instant personalization site or app after you have been using it or visited it a few times (or after you
have given it specific permission to access your data), it will not automatically delete your data received through
Facebook. But the site is contractually required to delete your data if you ask it to.

How it works
To join the instant personalization program, a potential partner must enter into an agreement with us designed to protect
your privacy. For example, this agreement requires that the partner delete your data if you turn off instant
personalization when you first visit the site or app. It also prevents the partner from accessing any information about
you until you or your friends visit its site.

Instant personalization partners sometimes use an email hash process to see if any of their users are on Facebook and get
 those users' User IDs. This process is similar to searching for someone on Facebook using an email address, except in
 this case the email addresses are hashed so no actual email addresses are exchanged. The partner is also contractually
 required not to use your User ID for any purpose (other than associating it with your account) until you or your friends
 visit the site.

When you visit a site or app using instant personalization, we provide the site or app with your User ID and your friend
list (as well as your age range, locale, and gender). The site or app can then connect your account with that partner with
your friends' accounts to make the site or app instantly social. The site can also access public information associated
with any of the User IDs it receives, which it can use to make them instantly personalized. For example, if the site is a

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music site, it can access your music interests to suggest songs you may like, and access your friends' music interests to
let you know what they are listening to. Of course it can only access your or your friends’ music interests if they are
public. If the site or app wants any additional information, it will have to get your specific permission.

Public search engines

Your public search setting controls whether people who enter your name on a public search engine may see your public
timeline (including in sponsored results). You can find your public search setting on the “Ads, Apps and Websites”
settings page.

This setting does not apply to search engines that access your information as an application using Facebook Platform.
If you turn your public search setting off and then search for yourself on a public search engine, you may still see a
preview of your timeline. This is because some search engines cache information for a period of time. You can learn
more about how to request a search engine to remove you from cached information at:
https://www.facebook.com/help/?faq=13323

IV. How advertising and Sponsored Stories work

Personalized ads

We do not share any of your information with advertisers (unless, of course, you give us permission). As described in
this policy, we may share your information when we have removed from it anything that personally identifies you or
combined it with other information so that it no longer personally identifies you.

We use the information we receive to deliver ads and to make them more relevant to you. This includes all of the things
you share and do on Facebook, such as the Pages you like or key words from your stories, and the things we infer from
your use of Facebook. Learn more at: https://www.facebook.com/help/?page=226611954016283

When an advertiser creates an ad, they are given the opportunity to choose their audience by location, demographics,
likes, keywords, and any other information we receive or can tell about you and other users. For example, an advertiser
can choose to target 18 to 35 year-old women who live in the United States and like basketball. An advertiser could
also choose to target certain topics or keywords, like “music” or even people who like a particular song or artist.

Try this tool yourself to see one of the ways advertisers target ads and what information they see at:
https://www.facebook.com/ads/create/

If the advertiser chooses to run the ad (also known as placing the order), we serve the ad to people who meet the criteria
 the advertiser selected, but we do not tell the advertiser who any of those people are. So, for example, if a person views
 or otherwise interacts with the ad, the advertiser might infer that the person is an 18-to-35-year-old woman who lives in
 the U.S. and likes basketball. But we would not tell the advertiser who that person is.

After the ad runs, we provide advertisers with reports on how their ads performed. For example we give advertisers
reports telling them how many users saw or clicked on their ads. But these reports are anonymous. We do not tell
advertisers who saw or clicked on their ads.

Advertisers sometimes place cookies on your computer in order to make their ads more effective. Learn more about
cookies, pixels and other system technologies.
Sometimes we allow advertisers to target a category of user, like a "moviegoer" or a "sci-fi fan." We do this by
bundling characteristics that we believe are related to the category. For example, if a person "likes" the "Star Trek"
Page and mentions "Star Wars" when they check into a movie theater, we may conclude that this person is likely to be a
sci-fi fan. Advertisers of sci-fi movies, for example, could ask us to target “sci-fi fans” and we would target that group,
which may include you. Or if you “like” Pages that are car-related and mention a particular car brand in a post, we
might put you in the “potential car buyer” category and let a car brand target to that group, which would include you.

Ads + social context
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Facebook Ads are sometimes paired with social actions your friends have taken. For example, an ad for a sushi
restaurant may be paired with a news story that one of your friends likes that restaurant's Facebook page.

This is the same type of news story that could show up in your News Feed, only we place it next to a paid advertisement
to make that ad more relevant and interesting.

When you show up in one of these news stories, we will only pair it with ads shown to your friends. If you do not want
to appear in stories paired with Facebook Ads, you can opt out using your “Edit social ads” setting.

Learn what happens when you click "Like" on an advertisement or an advertiser's Facebook Page at:
https://www.facebook.com/help/?faq=19399
We may serve ads, including those with social context (or serve just social context), on other sites. These work just like
the ads we serve on Facebook - the advertisers do not receive any of your information. Only people that could see the
Facebook action (like on your timeline) would see it paired in this way.
Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.
Games, applications and websites can serve ads directly to you or help us serve ads to you or others if they have
information like your User ID or email address.

Sponsored stories

Many of the things you do on Facebook (like "liking" a Page) are posted to your timeline and shared in News Feed. But
there's a lot to read in News Feed. That's why we allow people to "sponsor" your stories to make sure your friends see
them. For example, if you RSVP to an event hosted by a local restaurant, that restaurant may want to make sure your
friends see it so they can come too.

If they do sponsor a story, that story will appear in the same place ads usually do or in your News Feed under the
 heading "Sponsored" or something similar. Only people that could originally see the story can see the sponsored story,
 and no personal information about you (or your friends) is shared with the sponsor.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

Facebook content

We like to tell you about some of the features and tools your friends and others use on Facebook, to help you have a
better experience. For example, if your friend uses our friend finder tool to find more friends on Facebook, we may tell
you about it to encourage you to use it as well. This of course means your friend may similarly see suggestions based
on the things you do. But we will try to only show it to friends that could benefit from your experience.

Your “Show my social actions in Facebook Ads” setting only controls ads with social context. It does not control
Sponsored Stories, ads or information about Facebook's services and features, or other Facebook content.

V. Cookies, pixels and other similar technologies

Cookies are small pieces of data that are stored on your computer, mobile phone or other device. Pixels are small blocks
of code on webpages that do things like allow another server to measure viewing of a webpage and often are used in
connection with cookies.

We use technologies like cookies, pixels, and local storage (like on your browser or device, which is similar to a cookie
but holds more information) to provide and understand a range of products and services. Learn more at:
https://www.facebook.com/help/cookies

We use these technologies to do things like:

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      make Facebook easier or faster to use;
      enable features and store information about you (including on your device or in your browser cache) and your use
       of Facebook;
      deliver, understand and improve advertising;
      monitor and understand the use of our products and services; and
      to protect you, others and Facebook.

For example, we may use them to know you are logged in to Facebook, to help you use social plugins and share buttons,
or to know when you are interacting with our advertising or Platform partners.

We may ask advertisers or other partners to serve ads or services to computers, mobile phones or other devices, which
may use a cookie, pixel or other similar technology placed by Facebook or the third party (although we would not share
any other information that identifies you with an advertiser).

Most companies on the web use cookies (or other similar technological tools), including our advertising and Platform
partners. For example, our Platform partners, advertisers or Page administrators may use cookies or similar
technologies when you access their apps, ads, Pages or other content.

Cookies and things like local storage help make Facebook work, like allowing pages to load faster because certain
content is stored on your browser or by helping us authenticate you to deliver personalized content.
To learn more about how advertisers generally use cookies and the choices advertisers provide, visit the Network
Advertising Initiative at http://www.networkadvertising.org/managing/opt_out.asp, the Digital Advertising Alliance at
http://www.aboutads.info/, the Internet Advertising Bureau (US) at http://www.iab.net or the Internet Advertising
Bureau (EU) at http://youronlinechoices.eu/.
You can remove or block cookies or other similar technologies or block or remove other data stored on your computer
or device (such as by using the various settings in your browser), but it may affect your ability to use Facebook or other
websites and apps.

VI. Some other things you need to know

Safe harbor
Facebook complies with the EU Safe Harbor framework as set forth by the Department of Commerce regarding the
collection, use, and retention of data from the European Union. To view our certification, visit the U.S. Department of
Commerce's Safe Harbor website at: https://safeharbor.export.gov/list.aspx. As part of our participation in the Safe
Harbor program, we agree to resolve disputes you have with us in connection with our policies and practices through
TRUSTe. If you would like to contact TRUSTe, visit:https://feedback-form.truste.com/watchdog/request

Contact us with questions or disputes
If you have questions or complaints regarding our Data Use Policy or practices, please contact us by mail at 1601
Willow Road, Menlo Park, CA 94025 if you reside in the U.S. or Canada, or at Facebook Ireland Ltd., Hanover Reach,
5-7 Hanover Quay, Dublin 2 Ireland if you live outside the U.S. or Canada. Anyone may also contact us through this
help page: https://www.facebook.com/help/contact_us.php?id=173545232710000

Responding to legal requests and preventing harm
We may access, preserve and share your information in response to a legal request (like a search warrant, court order or
subpoena) if we have a good faith belief that the law requires us to do so. This may include responding to legal requests
from jurisdictions outside of the United States where we have a good faith belief that the response is required by law in
that jurisdiction, affects users in that jurisdiction, and is consistent with internationally recognized standards. We may
also access, preserve and share information when we have a good faith belief it is necessary to: detect, prevent and
address fraud and other illegal activity; to protect ourselves, you and others, including as part of investigations; and to
prevent death or imminent bodily harm. Information we receive about you, including financial transaction data related
to purchases made with Facebook Credits, may be accessed, processed and retained for an extended period of time
when it is the subject of a legal request or obligation, governmental investigation, or investigations concerning possible
violations of our terms or policies, or otherwise to prevent harm.

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Access requests
You can access and correct most of your personal data stored by Facebook by logging into your account and viewing
your timeline and activity log. You can also download a copy of your personal data by visiting your “Account
Settings”, clicking on “Download a copy of your Facebook data” and then clicking on the link for your expanded
archive. Learn more at: https://www.facebook.com/help/?faq=226281544049399

Notifications and Other Messages
We may send you notifications and other messages using the contact information we have for you, like your email
address. You can control most of the notifications you receive, including ones from Pages you like and applications you
use, using your “Notifications” settings.

Friend finder
We offer tools to help you upload your friends' contact information so that you and others can find friends on
Facebook, and invite friends who do not use Facebook to join. If you do not want us to store this information, visit this
help page at: https://www.facebook.com/contact_importer/remove_uploads.php

If you give us your password, we will delete it after you upload your friends' contact information.

Invitations
 When you invite a friend to join Facebook, we send a message on your behalf using your name, and up to two
 reminders. We may also include names and pictures of other people your friend might know on Facebook. The
 invitation will also give your friend the opportunity to opt out of receiving other invitations to join Facebook.

Memorializing accounts
We may memorialize the account of a deceased person. When we memorialize an account, we keep the timeline on
Facebook, but limit access and some features. You can report a deceased person's timeline at:
https://www.facebook.com/help/contact.php?show_form=deceased

We also may close an account if we receive a formal request that satisfies certain criteria.

Service Providers
We give your information to the people and companies that help us provide, understand and improve the services we
offer. For example, we may use outside vendors to help host our website, serve photos and videos, process payments,
analyze data, measure the effectiveness of ads, or provide search results. In some cases we provide the service jointly
with another company, such as the Facebook Marketplace. In all of these cases our partners must agree to only use your
information consistent with the agreement we enter into with them, as well as this Data Use Policy.

Security and bugs
We do our best to keep your information secure, but we need your help. For more detailed information about staying
safe on Facebook, visit the Facebook Security Page. We try to keep Facebook up, bug-free and safe, but can’t make
guarantees about any part of our services or products.

Change of Control
If the ownership of our business changes, we may transfer your information to the new owner so they can continue to
operate the service. But they will still have to honor the commitments we have made in this Data Use Policy.

Notice of Changes
If we make changes to this Data Use Policy we will notify you by publication here and on the Facebook Site
Governance Page. If the changes are material, we will provide you additional, prominent notice as appropriate under
the circumstances. You can make sure that you receive notice directly by liking the Facebook Site Governance Page.

Opportunity to comment and vote
Unless we make a change for legal or administrative reasons, or to correct an inaccurate statement, we will give you
seven (7) days to provide us with comments on the change. If we receive more than 7000 comments concerning a
particular change, we will put the change up for a vote. The vote will be binding on us if more than 30% of all active
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registered users as of the date of the notice vote.

Information for users outside of the United States and Canada
 Company Information: The website under www.facebook.com and the services on these pages are being offered to
 users outside of the U.S. and Canada by Facebook Ireland Ltd., Hanover Reach, 5-7 Hanover Quay, Dublin 2 Ireland.
 The company Facebook Ireland Ltd. has been established and registered in Ireland as a private limited company,
 Company Number: 462932, and is the data controller responsible for your personal information.
 Directors: Cipora Herman (American), Theodore Ullyot (American).

Your California privacy rights
 California law permits residents of California to request certain details about what personal information a company
 shares with third parties for the third parties' direct marketing purposes. Facebook does not share your information with
 third parties for the third parties’ own and independent direct marketing purposes unless we receive your permission.
 Learn more about the information we receive and how it is used and other websites and applications. If you have
 questions about our sharing practices or your rights under California law, please write us at 1601 Willow Road, Menlo
 Park, CA 94025 or contact us through this help page: https://www.facebook.com/help/contact_us.php?
id=173545232710000




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